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1. Powell v. City of Jamestown, 2022 U.S. Dist. LEXIS 99749
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Powell v. City of Jamestown

United States District Court for the Western District of New York
June 3, 2022, Decided; June 3, 2022, Filed
Case No. 1:21-cv-721

Reporter
2022 U.S. Dist. LEXIS 99749 *; 2022 WL 1913581

CHRISTIAN POWELL, Plaintiff, v. CITY OF
JAMESTOWN, CITY OF JAMESTOWN CLERK,
JAMESTOWN POLICE DEPARTMENT, JAMESTOWN
POLICE CHIEF TIMOTHY JACKSON, COUNTY OF
CHAUTAUQUA, CHAUTAUQUA COUNTY SHERIFF'S
OFFICE, CHAUTAUQUA COUNTY SHERIFF JAMES
B. QUATTRONE, CHAUTAUQUA COUNTY
UNDERSHERIFF DARRYL W. BRALEY, JOHN DOES
1-10 (city employees), JOHN DOES 1-10 (county
employees), Defendants.

Core Terms

allegations, arrest, municipal, excessive force, Sheriff,
custom, Defendants’, training, assault, deliberate
indifference, qualified immunity, supervision, conspiracy,
asserts, law enforcement officer, police officer,
excessive-force, injuries, rights, supervisory, respondeat
superior, punitive damages, cause of action, mental
heaith, declarations, deprivation, constitutional right,
personal involvement, medical condition, motion to
dismiss

Case Summary

Overview

HOLDINGS: [1]-The "group pleading" doctrine did not
entitle defendants to dismissal of all of plaintiffs
claims—including the excessive-force claim—because,
aithough the complaint repeatedly described the alleged
violations as being perpetrated by “defendants” or
"officers," without further delineation, plaintiff explicitly
alleged that Incident 1 involved County sheriffs and
Incident 2 involved City defendants; [2]-Count 1
included an allegation that defendants subjected plaintiff
to "an unreasonable and excessive use of force" in
violation of his constitutional rights. Thus, because the
42 US.C.S. § 1983 complaint included multiple
allegations that plaintiff expressed suicidal ideation and
that he engaged in self-harm, the allegations plausibly

established sufficiently serious mental health conditions
and safety needs of which defendants were aware.

Outcome
Motions to dismiss granted in part and denied in part.
The request for leave to amend was denied.

LexisNexis® Headnotes

Civil Procedure > ... > Defenses, Demurrers &
Objections > Motions to Dismiss > Failure to State
Claim

Civil
Procedure > ... > Pleadings > Complaints > Require
ments for Complaint

HN 1s] Motions to Dismiss, Failure to State Claim

On a Fed. R. Civ. P. 12(b)(6) motion, the court's task is
to determine whether, accepting the allegations
contained in the complaint as true, and drawing all
reasonable inferences in favor of the non-movant,
plaintiffs have stated a facially valid claim. In order to be
found sufficient, a pleading must set forth sufficient facts
to suggest that a cause of action is legally plausible.
Uitimately, where a plaintiff has not nudged their claim
across the line from conceivable to plausible, their
complaint must be dismissed.

Civil Procedure > ... > Defenses, Demurrers &
Objections > Motions to Dismiss > Failure to State
Claim

Civil Procedure > ... > Summary
Judgment > Motions for Summary

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Judgment > Notice Requirement
HN2[5] Motions to Dismiss, Failure to State Claim

In addition to the facts alleged in the complaint, a court
is permitted to consider matters of which judicial notice
may be taken. However, if, on a motion under Fed. R.
Civ. P. 12(b)(6) matters outside the pleadings are
presented to and not excluded by the court, the motion
must be treated as one for summary judgment under
Fed, R, Civ. P. 56. Fed. R. Civ. P. 12(d). In such cases,
parties must be given a reasonable opportunity to
present all the material that is pertinent to the motion.

Civil
Procedure > .,. > Pleadings > Complaints > Require
ments for Complaint

HN3[xe] Complaints, Requirements for Complaint

As the Second Circuit has explained, although Fed. R.
Civ. P. 8 does not demand that a complaint be a model
of clarity or exhaustively present the facts alleged, it
requires, at a minimum, that a complaint give each
defendant fair notice of what the plaintiffs claim is and
the ground upon which it rests. A complaint that lumps
all the defendants together in each claim and provides
no factual basis to distinguish their conduct fails to
satisfy this minimum standard. At the same time,
nothing in Rule 8 prohibits collectively referring to
multiple defendants where the complaint alerts
defendants that identical claims are asserted against
each defendant.

Civil Rights Law > ... > Scope > Law Enforcement
Officials > Excessive Force

Torts > Public Entity Liability > Excessive Force

HN4lcee] Law Enforcement Officials, Excessive

Force

In situations involving an alleged assault by a group of
police officers, courts do not insist that the complaint set
forth in detail the actions of each officer where it would
be unreasonable to expect the plaintiff to be able to do
so, Where a plaintiff alleges use of excessive force
during an arrest, it would be asking too much for an
arrestee to remember and plead the role each of several
police officer played in this alleged instance of police

brutality.

Civil Rights Law > Protection of Rights > Immunity
From Liability > Defenses

Torts > Public Entity
Liability > Immunities > Qualified Immunity

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Individual Capacity

Civil Rights Law > Protection of Rights > Immunity
From Liability > Federal Officials

HN5[ae] Immunity From Liability, Defenses

Qualified immunity attaches when an official's conduct
does not violate clearly established statutory or
constitutional rights of which a reasonable person would
have known. Government actors are entitled to qualified
immunity insofar as their conduct does not violate
clearly established statutory or constitutional rights of
which a reasonable person would have known. Courts
typically consider two questions in a qualified immunity
analysis: (1) whether the facts that a plaintiff has alleged
(Fed, R. Civ. P. 12(b)(8), (c)) or shown (Fed. R, Civ. P.
50, 56) make out a violation of a constitutional right; and
(2) whether the right at issue was clearly established at
the time of defendant's alleged misconduct. On the latter
element, the court evaluates: (a) whether the
defendant's action violated clearly established law; and
(b) whether it was objectively reasonable for the
defendant to believe that his or her action did not violate
such law.

Governments > Courts > Judicial Precedent
HNG6|xe] Courts, Judicial Precedent

A Court is required to apply the law as stated by the
Supreme Court.

Civil Procedure > ... > Summary
Judgment > Entitlement as Matter of
Law > Appropriateness

Civil Rights Law > Protection of Rights > immunity
From Liability > Defenses

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Torts > Public Entity
Liability > Immunities > Qualified Immunity

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Individual Capacity

Civil Procedure > ... > Defenses, Demurrers &
Objections > Affirmative Defenses > Immunity

HN7[s] Entitlement as
Appropriateness

Matter of Law,

The procedural posture of a case affects the qualified
immunity analysis. Although claims of qualified immunity
should be decided as early as possible in a case, it is
often best decided on a motion for summary judgment
when the details of the alleged deprivations are more
fully developed. On a motion to dismiss, the defense will
succeed only where entitlement to qualified immunity
can be established based solely on facts appearing on
the face of the complaint. This is a stringent standard.

Civil Rights Law > Protection of Rights > Immunity
From Liability > Defenses

Torts > Public Entity
Liability > Immunities > Qualified Immunity

HN8[xee] Immunity From Liability, Defenses

Regarding qualified immunity, on one hand,
characterizing the right too narrowly to the facts of the
case might permit government actors to escape
personal liability. On the other hand, defining clearly
established law at too high a level of generality avoids
the crucial question whether the official acted
reasonably in the particular circumstances that he or
she faced.

Civil Rights Law > ... > Section 1983
Actions > Elements > Protected Rights

HNO[xe] Elements, Protected Rights

To state a valid claim under 42 U.S.C.S. § 1983, the
plaintiff must allege that the challenged conduct: (1) was
attributable to a person acting under color of state law;
and (2) deprived the plaintiff of a right, privilege, or
immunity secured by the Constitution or laws of the
United States.

Constitutional Law > Bill of Rights > Fundamental
Rights > Cruel & Unusual Punishment

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > Scope of Protection

Constitutional Law > ... > Fundamental
Rights > Procedural Due Process > Scope of
Protection

HN10[2] Fundamental Rights, Cruel & Unusual
Punishment

The right not to be subject to excessive force derives
from the Fourth Amendment for arrestees, the Eighth
Amendment for prisoners incarcerated for a criminal
conviction, and the Fifth or Fourteenth Amendment for
pretrial detainees and individuals who have not been
arrested.

Governments > Federal Government > Employees
& Officials

Governments > State & Territorial
Governments > Employees & Officials

HN11[2]
Officials

Federal Government, Employees &

The Fifth Amendment governs the conduct of the
federal government and federal employees, and does
not regulate the activities of state officials or state
actors.

Civil Rights Law > ... > Scope > Law Enforcement
Officials > Excessive Force

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > Scope of Protection

Torts > Public Entity Liability > Excessive Force

HN12[] Law Enforcement Officials, Excessive
Force

The standards applicable to excessive-force claims
under the Fourth and Fourteenth Amendments are
largely the same. Both relate to the objective
reasonableness of the defendants' use of force. Proper

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application of this objective test requires careful
attention to the facts and circumstances of each
particular case. Courts consider factors such as: the
relationship between the need for the use of force and
the amount of force used; the extent of the plaintiffs
injury; any effort made by the officer to temper or to limit
the amount offeree; the severity of the security problem
at issue; the threat reasonably perceived by the officer;
and whether the plaintiff was actively resisting. Because
of its intensely factual nature, the question of whether
the use offeree was reasonable under the
circumstances is generally best left for a jury to decide.
Even in the arrest context, the reasonableness of the
force used is often a jury question. These principles
apply with even greater force at the motion to dismiss
stage, where a court must assume the truth of the
plaintiffs allegations and avoid resolving factual
disputes.

Civil Procedure > ... > Defenses, Demurrers &
Objections > Motions to Dismiss > Failure to State
Claim

Civil
Procedure > ... > Pleadings > Complaints > Require
ments for Complaint

HN13[%5] Motions to Dismiss, Failure to State Claim

A court need not credit bare, conclusory allegations in a
Complaint on a motion to dismiss.

Civil Rights Law > ... > Scope > Law Enforcement
Officials > Excessive Force

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > Scope of Protection

HN14[x Law Enforcement Officials, Excessive
Force

Not every push or shove amounts to a Fourth
Amendment violation. Indeed, a de minimis use of force
will rarely suffice to state a Constitutional claim.

Civil
Procedure > ... > Pleadings > Complaints > Require
ments for Complaint

Civil Rights Law > ... > Scope > Law Enforcement
Officials > Excessive Force

Torts > Public Entity Liability > Excessive Force
HN15[25] Complaints, Requirements for Complaint

A plaintiff claiming excessive force must allege that he
sustained an injury. Conclusory allegations of physical
and emotional injuries are no more than labels and
conclusions and do not plausibly state an excessive
force claim. There is no threshold degree of injury a
plaintiff must allege in order to successfully pursue an
excessive force claim.

Civil
Procedure > ... > Pleadings > Complaints > Require
ments for Complaint

Civil Rights Law > ... > Section 1983
Actions > Elements > Causal Relationship

HN 6a] Complaints, Requirements for Complaint

To state a claim under 42 U.S.C.S. § 1983, a plaintiff
must plead that each Government-official defendant,
through the official's own actions, has violated the
Constitution.

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Customs & Policies

Governments > Local Governments > Claims By &
Against

HN1 7[ae] Local Officials, Customs & Policies
The elements of a Monell claim are: (1) a municipal

policy or custom that; (2) causes the plaintiff to be
subjected to; (3) the deprivation of a constitutional right.

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Customs & Policies

Governments > Local Governments > Claims By &
Against

HN18|x%] Local Officials, Customs & Policies

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For a Monell claim, to show a policy, custom, or
practice, the plaintiff need not identify an express rule or
regulation. It is sufficient to show, for example, that a
discriminatory practice of municipal officials was so
persistent or widespread as to constitute a custom or
usage with the force of law. Thus, a plaintiff can rely on
allegations of similar misconduct to plead that there was
a widespread practice, policy or custom. And,
depending on the particular circumstances, a plaintiff
need not present a large number of similar incidents.

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Deliberate Indifference

Governments > Local Governments > Claims By &
Against

HN19[2] Local Officials, Deliberate Indifference

In a Monell case, an inference can be drawn where the
municipality so failed to train its employees as to display
a deliberate indifference to the constitutional rights of
those within its jurisdiction.

Civil
Procedure > ... > Pleadings > Complaints > Require
ments for Complaint

Governments > Local Governments > Claims By &
Against

HN20[ 26] Complaints, Requirements for Complaint

Since the Ferrari decision, the Second Circuit has
clarified that while it may be true that 42 U.S.C.S. §
1983 plaintiffs cannot be expected to know the details of
a municipality's training programs prior to discovery, this
does not relieve them of their obligation under iqbai to
plead a facially plausible claim. There are a number of
ways that plaintiffs can plausibly allege a § 1983 claim
for municipal liability premised on a failure to train theory
without having detailed knowledge of a municipality's
training programs.

Civil Rights Law > Protection of Rights > immunity
From Liability > Respondeat Superior Distinguished

Governments > Local Governments > Claims By &
Against

HN21[<<] Immunity From Liability, Respondeat
Superior Distinguished

Since claims against the officers in their official
capacities are treated as claims against the
municipalities themselves, respondeat superior does not
authorize a 42 U.S.C.S. § 1983 claim against those
defendants in their official capacities.

Civil Rights Law > ... > Section 1983
Actions > Elements > Protected Rights

HN22[%] Elements, Protected Rights

To state a personal-capacity claim under 42 U.S.C.S. §
1983, a plaintiff must allege facts showing the
defendants’ personal involvement in the alleged
constitutional deprivations.

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Customs & Policies

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Deliberate Indifference

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Direct Causal Links

HN23[24] Local Officials, Customs & Policies

Before the Supreme Court's Iqbal decision, the Second
Circuit identified five categories of evidence to show the
personal involvement of a supervisory defendant: (1) the
defendant participated directly in the alleged
constitutional violation; (2) the defendant, after being
informed of the violation through a report or appeal,
failed to remedy the wrong; (3) the defendant created a
policy or custom under which unconstitutional practices
occurred, or allowed the continuance of such a policy or
custom; (4) the defendant was grossly negligent in
supervising subordinates who committed the wrongful
acts; or (5) the defendant exhibited deliberate
indifference to the rights of inmates by failing to act on
information indicating that unconstitutional acts were
occurring. But, the Second Circuit has since held that
after there is no special rule for supervisory liability.
Instead, a plaintiff must plead and prove that each
Government-official defendant, through the official's own
individual actions, has violated the Constitution. The
factors necessary to establish a 42 U.S.C.S. § 1983

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violation will vary with the constitutional provision at
issue because the elements of different constitutional
violations vary.

Constitutional Law > Substantive Due
Process > Scope

Constitutional Law > ... > Fundamental
Rights > Procedural Due Process > Scope of

Protection
HN24[ce] Constitutional Law, Substantive Due

Process

Although, after Tangreti, courts must resolve claims
against supervisor-defendants without reference to
Colon's special standards for supervisory liability, the
legal standard under the fourth factor is virtually
identical to the Fourteenth Amendment deliberate-
indifference standard.

Civil
Procedure > ... > Pleadings > Complaints > Require
ments for Complaint

Torts > Intentional Torts > Assault &
Battery > Elements of Assault

HN25[ x26] Complaints, Requirements for Complaint
In the context of an alleged assault by a group of law

enforcement officers, the plaintiff is not required to set
forth in detail the actions and omissions of each officer.

Civil Rights Law > Protection of Rights > Section
1983 Actions > Elements

Evidence > Burdens of Proof > Allocation
HN26[22] Section 1983 Actions, Elements
To prevail on a failure-to-intervene claim, a plaintiff must
demonstrate the existence of an underlying

constitutional violation in which the defendant officer
failed to intervene.

Civil Rights Law > ... > Scope > Law Enforcement

Officials > Arrests
Torts > Intentional Torts > False Arrest > Defenses
Torts > intentional Torts > False Arrest > Elements

Torts > ... > False
Imprisonment > Defenses > Justifications &
Privileges

HN27[x5] Law Enforcement Officials, Arrests

The elements of a claim of false arrest under 42
U.S.C.S. § 1983 are substantially the same as the
elements of a false arrest claim under New York law.
Under New York law, the elements of a false arrest
claim are: (1) the defendant intended to confine the
plaintiff, (2) the plaintiff was conscious of the
confinement; (3) the plaintiff did not consent to the
confinement; and (4) the confinement was not otherwise
privileged. The existence of probable cause to arrest
renders the confinement privileged and is a complete
defense to an action for false arrest.

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > Probable Cause

HN28[ xe] Search & Seizure, Probable Cause

An arrest pursuant to a facially valid arrest warrant is
presumed to be made with probable cause.

Civil Rights Law > ... > Scope > Law Enforcement
Officials > Custody

Constitutional Law > ... > Fundamental
Rights > Procedural Due Process > Scope of
Protection

Civil Rights Law > ... > Immunity From
Liability > Local Officials > Deliberate Indifference

HN29[%«] Law Enforcement Officials, Custody

The Due Process Clause requires the responsible
government or governmental agency to provide medical
care to persons who have been injured while being
apprehended by the police. A pretrial detainee may
establish a 42 U.S.C.S. § 1983 claim for allegedly
unconstitutional conditions of confinement by showing
that the officers acted with deliberate indifference to the

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challenged conditions. This means that a_ pretrial
detainee must satisfy two prongs to prove a claim, an
objective prong showing that the challenged conditions
were sufficiently serious to constitute objective
deprivations of the right to due process, and a
subjective prong—perhaps better classified as a mens
rea prong or mental element prong—showing that the
officer acted with at least deliberate indifference to the
challenged conditions.

Civil Rights Law > ... > Section 1983
Actions > Scope > Law Enforcement Officials

HN30[2] Scope, Law Enforcement Officials

Regarding the objective prong for a 42 U.S.C.S. § 1983
claim, failure to attend to a medical condition can be a
constitutional violation depending on the facts of the
particular case. In the context of mental health needs,
propensities to attempt suicide, harm oneself, and/or
exhibit severe depression or anxiety attacks have been
viewed as sufficiently serious.

Civil Rights Law > ... > Section 1983
Actions > Scope > Law Enforcement Officials

HN3 11] Scope, Law Enforcement Officials

As to the subjective prong for a 42 U.S.C.S. § 1983
claim, a court considers whether the allegations
plausibly indicate that defendants knew and disregarded
an excessive risk to health or safety.

Civil Rights Law > ... > Section 1983
Actions > Elements > Protected Rights

HN32[%] Elements, Protected Rights

Causation and damages are required elements of a 42
U.S.C.S. § 1983 claim. To state a claim under Section
1983, a plaintiff must show: (1) actions taken under
color of law; (2) deprivation of a constitutional or
statutory right; (3) causation; and (4) damages., report
and recommendation adopted in part (affirming jury
instruction in § 1983 case describing causation as the
third element of the claim.

Civil Rights Law > Protection of Rights > Conspiracy
Against Rights > Elements

HN33[ze] Conspiracy Against Rights, Elements

Conspiracy under 42 U.S.C.S. § 1983 and conspiracy
under 42 U.S.C.S. § 1985 are distinct causes of action
with different elements. However, it is necessary to each
of these causes of action that there has been an
underlying constitutional violation.

Civil Rights Law > Protection of Rights > Conspiracy
Against Rights > Elements

Civil Rights Law > Protection of Rights > Conspiracy
Against Rights > Private Conspirators

HN34[axa] Conspiracy Against Rights, Elements

Vague and conclusory allegations that defendants
entered into an unlawful agreement will not suffice to
state a conspiracy claim under either 42 U.S.C.S. §
1983 or 42 U.S.C.S. § 1985(3).

Civil Procedure > Remedies > Damages > Punitive
Damages

Governments > Local Governments > Claims By &
Against

Contracts Law > ... > Damages > Types of
Damages > Punitive Damages

Torts > ... > Types of Damages > Punitive
Damages > Aggravating Circumstances

Torts > ... > Punitive
Damages > Availability > Governmental Entities

HN35[ae] Damages, Punitive Damages

Punitive damages are not available against a municipal
defendant. Punitive damages can be available, however
against municipal officials named in their individual
capacities. At the motion-to-dismiss stage, a plaintiff
needs to allege evil motive or intent, callous indifference
to justify punitive damages.

Civil Procedure > Pleading &

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Practice > Pleadings > Rule Application &

Interpretation
HN36[2] Pleadings, Rule Application &

interpretation

Under New York's Civil Practice Law and Rules, a party
may move for judgment dismissing one or more causes
of action against him on the ground that a defense is
founded upon documentary evidence. N.Y. C.P.L.R.
321 1(a)(1).

Business & Corporate Law > ... > Duties &
Liabilities > Authorized Acts of Agents > Liability of
Principals

HN37|z) Authorized Acts of Agents, Liability of
Principals

Respondeat superior is not an independent cause of
action, but a theory that must attach to an underlying
claim.

Torts > ... > Employers > Scope of
Employment > Application of State Law

Torts > ... > Employers > Scope of
Employment > Personal Activities

Torts > ... > Employers > Scope of
Employment > Violations of Instructions

HN38[x] Scope of Employment, Application of
State Law

In New York, conduct which occurs during the course of
employment will not be considered to have occurred
within the scope of employment if, for purely personal
reasons unrelated to the employer's interests, the
employee engages in conduct which is a substantial
departure from the normal methods of performing his
duties. However, an employee will be considered within
the scope of his employment so long as he is
discharging his duties, no matter how irregularly, or with
what disregard of instructions. Since law enforcement
officers often must use some degree of force to make
arrests, municipalities can foresee that their officers will
use force given the nature of police work.

Torts > Intentional Torts > Intentional Infliction of
Emotional Distress > Remedies

HN39[=4] _ Intentional
Distress, Remedies

Infliction of Emotional

The federal rules of procedure authorize alternative
claims in a pleading. Fed. R. Civ. P. 8(d)(2). But,
intentional infliction of emotional distress and negligent
infliction of emotional distress may not be used as a
substitute for an available traditional tort theory.

Torts > ... > Concerted Action > Civil
Conspiracy > Elements

HN4O[x] Civil Conspiracy, Elements

In order to state a claim for civil conspiracy, a plaintiff
must allege an underlying tort plus four additional
elements: (1) an agreement between two or more
parties; (2) an overt act in furtherance of the agreement;
(3) the parties' intentional participation in the furtherance
of a plan or purpose; and (4) resulting damage or injury.

Counsel: [*1] For Christian Powell, Plaintiff: Blake
Joseph Zaccagnino, LEAD ATTORNEY, Shaw & Shaw,
PC, Hamburg, NY.

For City of Jamestown, Jamestown Police Chief
Timothy Jackson, John Does 1-10, said names being
fictitious but intended to be any other individual/officers
involved in the within incident and employees of the City
of Jamestown and/or Jamestown Police Department in
their individual and official capacities, John Does 1-10,
said names being fictitious but intended to be any other
individual/officers involved in the within incident and
employees of the County of Chautauqua and/or
Chautauqua County Sheriffs Office in their individual
and official capacities, Defendants: Elliot Samuel
Raimondo, LEAD ATTORNEY, Corporation Counsel,
Jamestown, NY.

For County of Chautauqua, Chautauqua County Sheriff
James B. Quaittrone, Chautauqua County Undersheriff
Darryl W. Braley, Defendants: Michael P. McClaren,
LEAD ATTORNEY, Peter L Veech, Buffalo, NY.

Judges: Geoffrey W. Crawford, United States District
Judge.

Opinion by: Geoffrey W. Crawford

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Opinion

OPINION AND ORDER
(Does. 9, 14)

In this case, removed from New York Supreme Court,
Plaintiff Christian Powell sues the above-captioned
defendants! alleging _ personal injuries resulting
from [*2] two incidents. First, he alleges that law
enforcement officers knew or should have known that
he suffers from mental health and other conditions, but
that they used harmful force as they arrested him on
December 10,2020 and allowed him to harm himself
during the arrest, during transport to the Jamestown
Police Department Central Booking Bureau, and during
a period while he was restrained at the police station—
all while failing to send him to a hospital or provide him
with a mental health evaluation. (Doc. 1-1 9 24-41.)
Second, he alleges that after his arraignment, officers
failed to send him to a hospital or provide him with a
mental health evaluation, failed to prevent him from
harming himself, and used harmful force as they
restrained him at the police station. (/d. J¥] 43-46.)

The 183-paragraph Complaint seeks damages on the
following theories: (1) negligence; (2) violation of civil
rights under 42 U.S.C. § 1983; (3) respondeat
superior/vicarious _ liability; (4) negligent hiring; (5)
negligent retention; (6) negligent training and
supervision; (7) assault; (8) battery; (9) battery
committed in the performance of a public duty; (10)
intentional infliction of emotional distress ("TIED"); (11)
negligent [*3] infliction of emotional distress ("NIED");
(12) failure to intervene; (13) unlawful arrest; (14) failure
to treat; (15) conspiracy; and (16) demand for punitive
damages.? The City Defendants and the County

‘The defendants can be organized into two groups: the "City
Defendants" (the City of Jamestown, the City of Jamestown
Clerk, the Jamestown Police Department, Jamestown Police
Chief Timothy Jackson, and the John Does who are city
employees) and the "County Defendants" (the County of
Chautauqua, the Chautauqua County Sheriffs Office,
Chautauqua County Sheriff James B. Quattrone, Chautauqua
County Undersheriff Darryl W. Braley, and the John Does who
are county employees).

2The IIED and NIED claims are both numbered count "10" in
the Complaint, and the "failure to intervene" and “unlawful
arrest" claims are both numbered count "11." For clarity, the
court refers to the claims by the numbers listed above.

Defendants have separately filed motions to dismiss for
failure to state a claim under Fed. R. Civ, P_12(b)(6).
(Does. 9, 14.)

Background

The factual allegations in the Complaint include the
following. Mr. Powell suffers from mental health and
other health conditions about which Defendants knew or
should have known. (Doc. 1-1 § 28.) Chautauqua
County sheriffs and Jamestown Police officers arrested
Mr. Powell on December 10, 2020. (ld. 9] 24, 26, 29.)
Mr. Powell asserts on information and belief that the
arresting officers "possessed obvious violent
propensities.” (/d. J 52.)

1. “Incident 1"

According to Mr. Powell, the officers effecting the arrest
“assaulted, battered, repeatedly grabbed, kneed,
yanked his arms, threw him to the ground, placed
handcuffs on him extremely tight causing injury, and
seized him without cause or provocation." (/d. J 27.) At
the time he was arrested, Mr. Powell asked the officers
to send him to an inpatient hospital to be treated for his
mental health conditions and his mental state [*4] at the
time. (/d. J 29.) They refused to send him to the hospital
or to provide him with a mental health evaluation. (/d.)
Mr. Powell was crying and he advised the officers that
he had not slept in days, that he had not seen his
children, that he was stressed out, that he wanted to kill
himself, and that he has post-traumatic stress disorder
("PTSD"). (/d. | 30.)

According to Plaintiff: “After being advised of the above,
the defendants remained on top of Plaintiff." (id. J 31.)
They allowed him to “hit his head off of the ground
multiple times causing injury." (/d.) The officers stood
Mr. Powell up and he advised that he felt he had a
concussion. (/d.)

Officers placed Mr. Powell in a Jamestown Police
vehicle and transported him to the Jamestown Police
Department Central Booking Bureau. (/d. J 32.) Plaintiff
asserts that the officers “allowed plaintiff to hit his head
on the glass separating where he and the officers were
sitting multiple times, causing injury." (/d.) Mr. Powell
“screamed that he had a concussion and that he felt like
he was going to die." (/d.) “He again screamed that he
had not slept in days.” (/d.) He "screamed that he was
going to die and that he could not feel his [*5] head."
(Id.)

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Upon arriving at the police station, an officer stated that
Mr. Powell was "fighting hard" and that he would be
going straight to the “chair” depending on his medical
situation. (/d. ] 33.) Plaintiff asserts on information and
belief that the "chair" is a “restraint chair meant to
prevent prisoners from self injury." (/d.) An officer also
stated that Mr. Powell was "bashing his head on a flash-
light." (/d.)

When officers took Mr. Powell out of the vehicle, they
allowed him to “bash his head on the trunk of a police
vehicle, causing injury." (id. J 34.) Once inside the
station, Mr. Powell screamed that his handcuffs were
tight and asked officers to take them off (/d.) Mr. Powell
again stated that he had not slept in days, that he had
not seen his children in weeks, that he had no one to
talk to, and that he had PTSD. (/d.) He further stated
that he had not eaten, that he did not care what
happened to him, that he would rather kill himself than
go to jail, and that he needed someone to talk to. (/d. J]
35.) He told officers that he wanted to go to the hospital.
(/d.)

Officers did not send Mr. Powell to the hospital, place
him in a restraint chair, or provide him with a
mental [*6] health evaluation at that time. (/d. 7 36.)
Instead, they handcuffed him to a bench at the station.
(ld.) He remained handcuffed on the bench for a
number of hours. (/d.)

Mr. Powell alleges that, while he was handcuffed on the
bench, officers "allowed plaintiff to smash his hands on
the bench and yank on his handcuffs" and to "punch the
wall and break his ankle-handcuffs,” causing injury. (/d.
{| 37.) He stated to Officers that "he lost his kids and his
heart was gone, that he would rather kill himself, that he
was psychotic, [and] that he needed mental health help
right now." (/d.) He told officers "to use a taser on him
and to put a bullet in his head.” (/d.)

Mr. Powell again stated that he was going to kill himself.

(/d. J 39.) Officers allowed him to “hit his head off of the

wall, causing injury.” (/d.)
Plaintiff rambled, stumbled around, stretched his full
body out with his leg attached to a bench, and took
his shirt off. Plaintiff yanked his handcuffs on the
bench, grabbed the phone off of the wall, violently
clapped his hands, punched the wall, fell off of the
bench and landed on his side, hit his head on the
wall, and rolled back and forth moaning.

(/d.) He stated to officers that [*7] he had been drinking
for the past week, that he had not showered in days,
that he was ready to kill himself, that he would rather be

dead, that he has nobody and was ready to say "bye."
(Id. | 40.) He also stated that he has explosive anger
disorder, that he was getting ready to kill himself, and
that officers “better call someone in before he does it,
that he was ready to jump head first off of the bench,
and that he might as well kill himself." (/d.) Despite Mr.
Powell's deteriorating mental health condition,
Defendants did not send him to the hospital or provide
him with a mental health evaluation. (/d. | 41.)

Il. “Incident 2"

Hours later, Mr. Powell was arraigned. (/d. | 43.) "He
was crying, trying to make statements on the record,
and acted erratically." (/d.) "His [bizarre] behavior from
hours prior continued.” (/d.) "[D]efendants still did not
send Plaintiff to the hospital or provide him with a
mental health evaluation.” (/d.)

After his arraignment—hours after he was brought to the
police station—Mr. Powell ripped his court paperwork up
and threw it on the ground. (/d. 1144.) Officers brought
him to the restraint chair. (/o.) But they "allowed Plaintiff
to hit his head on the [*8] metal bars in the jail area
causing him pain and injury." (/d.)

In the process of restraining Mr. Powell, officers
“assaulted, battered, slammed Plaintiff to the ground,
and seized Plaintiff without cause or provocation." (/d. J
45.) They "pulled Plaintiffs shirt over his head for a
period of time while they restrained him.” (/d.) They
“allowed Plaintiff to bang his head and neck on the back
of the restraint chair." (/d.) They strapped him down
"extremely tight," causing pain and injury, and Mr.
Powell asked that his restraints be loosened. (/d.)

Mr. Powell asserts that he was "at all times, using due
care." (/d. §[ 50.) He further asserts that, as a result of
Defendants’ conduct, he was "injured internally,
externally, and permanently in and about the face, head,
back, chest, shoulders, limbs, torso, and nervous
system, so that he became and will continue to be
disabled and will continue to suffer pain and discomfort,
distress, and psychological adjustment." (/d. | 49.) He
alleges that he suffered "severe, painful, permanent and
personal injuries; was rendered sick, sore lame and
disabled, and suffered a loss of enjoyment and quality of
life." (ld. J 85.)

Analysis

The County and City [*9] Defendants raise numerous

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arguments in their motions to dismiss. They each seek
dismissal of all counts on the grounds that the
Complaint suffers from impermissible "group pleading."
(Doc. 9-6 at 14; Doe. 14-9 at 14.) They also each seek
dismissal of multiple claims on qualified immunity
grounds, (Doc. 9-6 at 30; Doc. 14-9 at 32.) And each
group of Defendants raises individual challenges to all
of the federal and state causes of action in the
Complaint.

The court begins by reciting the applicable standard of
review and addressing the issue of which materials that
may be considered under the present procedural
posture. See infra Parts |-IL The court then proceeds to
consider certain defense theories that are potentially
applicable to multiple claims. See infra Parts II IV.
Finally, the court turns to the individual federal and
state-law claims. See infra Parts V—VI.

Il. Standard of Review

HN1[%#] On a Rule 12(b)(6) motion, the court's task is
"to determine whether, accepting the allegations
contained in the complaint as true, and drawing all
reasonable inferences in favor of the non-movant,
plaintiffs have stated a facially valid claim." Deasio v.
City of Canandaigua, 513 F. Supp. 3d 310, 319
(W.D.N.Y. 2027) (cleaned up). "In order to be found
sufficient, a pleading must set [*10] forth sufficient facts
to suggest that a cause of action is legally plausible.” Jd.
(citing Bell Atl, Corp. v. Twombly, 550 U.S. 544, 570,
127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). “Ultimately,
where a plaintiff has not nudged their claim across the
line from conceivable to plausible, their complaint must
be dismissed.” /d. (cleaned up).

HNA#] In addition to the facts alleged in the complaint,
the court is permitted to "consider matters of which
judicial notice may be taken." Simmons v. Trans Exp.
inc.. 16 F.4th 357, 360 (2d Cir. 2027) (quoting Staehr v.
Hartford Fin. Servs. Grp., inc., 547 F.3d 406, 425 (2d
Cir. 2008)). However, "[i]f, on a motion under Rule
12(b)(6) matters outside the pleadings are
presented to and not excluded by the court, the motion
must be treated as one for summary judgment under
Rule _ 56." Fed. R. Civ. P. 12(d). In such cases 141
parties must be given a reasonable opportunity to
present all the material that is pertinent to the motion."
Id.

il. Materials Outside the Pleadings

In their motions to dismiss, the County and City
Defendants have each presented matters outside the
pleadings. Both defendants have supplied copies of a
December 9, 2020 warrant issued for Mr. Powell's
arrest. (Does. 9-2, 14-2.) The County Defendants have
supplied a Chautauqua County Sheriff Filed Case
Report concerning the December 10, 2020 arrest (Doc.
9 3) and a five-paragraph declaration signed by
Chautauqua County Sheriffs Deputy Stephen
Madonia [*11] (Doc. 9-4). The City Defendants have
supplied declarations by four city police officers (Carter
Obergfell, Kevin Wise, Mark Conklin, and John Conti)
(Does. 14-3, 14-4, 14-5, 14-6),3 plus two Jamestown
Fire Department reports (Does. 14-7, 14-8). Each
officer's declaration includes an exhibit of that officer's
written narrative or report of his involvement in the
events related to Mr. Powell on December 10, 2020.

A. Arrest Warrant

The December 9, 2020 warrant is a public record and is
properly subject to judicial notice. See Debellis v.
Schmoke, No. 19-CV-07834 (PMH), 2021 U.S. Dist.
LEXIS. 1187, 2027 WL 38262, at *7.n.3 (S.D.N.Y. Jan.
5, 2021) (taking judicial notice of arrest warrant; citing
cases). The court will take notice of that warrant. The
warrant, issued by Jamestown City Court Judge John L.
LaMancuso on December 9, 2020, authorized the arrest
of Christian T. Powell. (Doc. 9-2.) An endorsement on
the warrant indicates that the arrest was carried out on
December 10, 2020. (/d.)

B. Officers’ Declarations and Written Reports

Relying on the declarations of law enforcement officers,
the County and City Defendants challenge Mr. Powell's
allegations. According to the County Defendants,
Deputy Madonia had only “minimal and fawful
involvement" in alleged “Incident 1," undermining "each
and every one of Plaintiffs [*12] absurd allegations
against the County Defendants. .. . Plaintiffs allegations
of wrongdoing on the part of the County Defendants are
pure fantasy." (Doc. 9-6 at 10; see also id. at 12
("Plaintiff maliciously misrepresents Deputy Madonia's
actions fo fit his fictitious narrative.").) The City
Defendants take a similar position. (See Doc, 14-9 at 10
("At no time during Plaintiffs arrest and confinement at

3 Document 14-6 is supposed to be Officer Conti's declaration,
but the document is a transcript from a different case involving
a different officer (Sgt. Robert Bender).

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the Jamestown Police Department was he assaulted or
injured by any party other than himseif."); see also Doc,
23 { 9 ("Plaintiff s attempt to alter the narrative to view
him as the victim in this matter when, in fact, he was
arrested on an active, lawful and valid warrant, was
combative with officers and medical responders, self-
harmed despite employeesf'] best attempts to intercede,
caused damage to City property and subsequently
refused any offer of assistance is beyond any
credibility"); id. J 10 ("The Plaintiff has provided no
proof, aside from his own distorted narrative to
contradict any of the proof submitted by Defendant{[s] in
this matter.").)

This court has declined to take judicial notice of police
reporis on a Rule 12(b)(6) motion. See Acguest

and the [*414] ground upon which it rests.”

Tracey v. City of Geneva, No. 6:17-cv-06567-MAT,
2018 U.S. Dist, LEXIS 49977, 2018 WL_1509355, at *3
(W.D.N.Y. Mar. 26, 2078) (quoting Atuahene v. City of
Hartford, 10 F. App’x 33, 34 (2d Cir. 2007)). "A
complaint that lumps all the defendants together in each
claim and provides no factual basis to distinguish their
conduct fails to satisfy this minimum standard." Jd.
(cleaned up). At the same time, "[nJothing in Rule _8
prohibits collectively referring to multiple defendants
where the complaint alerts defendants that identical
claims are asserted against each defendant." Stevenson
v. N.Y. State Dep't of Corr. & Cmty. Supervision, No.
1:21-¢v-355, 2022 U.S. Dist. LEXIS 10663, 2022 WL
179768, at *10 (W.D.N.Y. Jan. 20, 2022) (alteration in

Holdings. Inc. v. Travelers Cas. & Surety Co. of Am.,
217 F. Supp. 3d 678. 684 n.1 (W.D.N.Y. 2016). While
some courts have taken judicial notice [*13] of police
reports and similar materials on a motion to dismiss,
such notice was taken to establish the existence of the
reports, not for the truth of their contents. See Alvarez v.
Cnty. of Orange, N.Y.. 95 F. Supp. 3d 385, 397
(S.D.N.Y. 2015} (collecting cases). Defendants in this
case do not rely on the police reports for that narrow
purpose, but instead to attempt to establish the facts of
their conduct during Mr. Powell's arrest and detention.

The court cannot take judicial notice of the reports for
that purpose. Therefore, the court's options are to
exclude the officers’ declarations and written reports, or
to convert Defendants' motions to motions for summary
judgment. See Fed. R. Civ. P. 12(d). The court elects to
exclude the declarations and written reports from
consideration of the Ru/e 12(b)(6) motions.

Hil. Distinguishable or Suable Defendants

A. Group Pleading

Defendants seek dismissal of all of Mr. Powell's claims
on the basis that the Complaint violates Fed. R. Civ. P.
8's prohibition on group pleading. (Doc. 9-6 at 14; Doc.
14-9 at 14.)

HN3[#] As the Second Circuit has explained,
"falithough Federal Rule of Civil Procedure 8 does
not demand that a complaint be a model of clarity
or exhaustively present the facts alleged, it
requires, at a minimum, that a complaint give each
defendant fair notice of what the plaintiffs claim is

original) (quoting Wyatt v. Kozlowski, No. 79-CV-
1S9W(F), 2021 US. Dist. LEXIS 7707. 2021 WL
130978, af *7 (W.D.N.Y. Jan. 14, 2021)).

HN4#] This court has observed that "in situations
involving an alleged assault by a group of police officers

. . courts do not insist that the complaint set forth in
detail the actions of each officer where it would be
unreasonable to expect the plaintiff to be able to do so."
Bryant _v. Monroe Coty., No. 19-CV-6474 CJS, 2022
U.S. Dist, LEXIS 6392, 2022 WL 119184, af *10
(W.D.N.Y. Jan. 12, 2022). Where a plaintiff alleges use
of excessive force during an arrest, "[i]t would be asking
too much for an arrestee to remember and plead the
role each of several police officer played in [this] alleged
instance of police brutality.” 202? U.S. Dist. LEXIS
6392, [WL] at *17 (alterations in original) (quoting Arias
v. E. Hartford, No. 3:20-CV-00895 (JCR}), 2021 U.S.
Dist. LEXIS 142340, 2021 WL 3268846, at *4 (D. Conn.

July 30. 2021).

Applying these principles to this case, the court
concludes that the “group pleading" [*15] doctrine does
not entitle Defendants to dismissal of all of Mr. Powell's
claims—and certainly not the excessive-force claim. It is
true that the Complaint repeatedly describes the alleged
violations as being perpetrated by "defendants" or
“officers,” without further delineation. But Mr. Powell
explicitly alleges that “Incident 1" involved Chautauqua
County sheriffs and Jamestown Police officers. (Doc. 1-
1 J 26.) And he concedes that "Incident 2"—which
allegedly occurred while Mr. Powell was in the sole
custody of the Jamestown Police Department—involved
only City Defendants. (See Doc. 13-1 at 12; Doc. 20-2
at 22.) In the context of Mr. Powell's allegations of
excessive force by law enforcement officers, the "group
pleading" doctrine is not a basis to grant dismissal under

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Rule 12(b)(6).

B. Suable Entities

The City Defendants argue that all of Mr. Powell's
claims against the Jamestown Police Department and
the City of Jamestown Clerk must be dismissed
because they are not suable entities. (Doc. 14-9 at 16.)
Mr. Powell concedes that "“[ujnder New York law,
departments which are merely administrative arms of a
municipality, do not have a legal identity separate and
apart from the municipality and cannot [*16] sue or be
sued." Hall v. City of White Plains, 185 F. Supp. 2d 293.
303 (S.D.N.Y, 2002); see also Long v. Cnty. of Orleans,
540 F. Supp. 3d 344, 350 (W.D.N.Y. 2027) ("Federal
courts apply state law to determine whether an entity
has capacity to be sued. . . . Under New York law,
departments that are merely administrative arms of a
municipality do not have a legal identity separate and
apart from the municipality, and therefore, cannot sue or
be sued.") (citations omitted). But Mr. Powell contends
that the City Defendants "have not cited case law
providing that the Jamestown Police Department/City of
Jamestown Clerk (specifically) are merely administrative
arms of the City of Jamestown.” (Doc. 20-2 at 15.)

The court rejects that argument. Mr. Powell has not
shown that the law on this issue is different for the City
of Jamestown. The City Defendants are not required to
cite a case specifically applying this law to the City of
Jamestown. Mr. Powell's reference to the Jamestown
Police Department's website is unavailing. Assuming the
court can consider those extra-pleading materials,
nothing on the website indicates that the Jamestown
Police Department is anything other than an
administrative arm of the city.

The County Defendants have not raised this issue as to
the Chautauqua County Sheriffs Office. However, the
same doctrine [*17] applies to county = sheriff's
departments. Long, 540 F. Supp. 3d_ at 350. The court
will dismiss all claims against that defendant sua
sponte. See Seale v. Madison Cnty., 929 F. Supp. 2d
51, 58 n.1 (N.D.N.Y. 2013) (dismissing sua sponte
claims against the Madison County Sheriff's Office
because the Sheriffs Office is an administrative arm of a
municipality and lacks the capacity to sue or be sued).

IV. Qualified Immunity

HNS[# "Qualified immunity attaches when an official's

conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would
have known." Rivas-Villegas v. Cortesluna, 142 S. Ct. 4,
7, 211 L. Ed. 2d 164 (2021) (per curiam) (quoting White
v. Pauly, 580 U.S. 73. 137 _S. Ct 848. 557, 196 L. Ed.
2d_ 463 (2017) (per curiam)); see also Hurd_v.
Fredenburgh, 984 F.3d 1075, 71089 (2d Cir 2021)
(quoting Okin_v. Vill. of Cornwall-On-Hudson Police
Dept, 577 F.3d 415, 432-33 (2d Cir 2009})
("Government actors are entitled to qualified immunity
insofar as their conduct does not violate clearly
established statutory or constitutional rights of which a
reasonable person would have known."). Courts
typically consider two questions in a qualified immunity
analysis: (1) "whether the facts that a plaintiff has
alleged (see Fed. Rules Civ. Proc. 12(b)(6), (c)) or
shown (see Rules 50, 56) make out a violation of a
constitutional right"; and (2) “whether the right at issue
was ‘clearly established’ at the time of defendant's
alleged misconduct." Pearson vy. Callahan, 555 U.S.
223, 232, 129 S. Ct. 808, 172 L. Ed. 2d 565 (2009)
(quoting Saucier v. Kaiz, 533 U.S. 194, 201.121 S. CL
2157, 150 L. Ed. 2d 272 (2001}). On the latter element,
the court evaluates (a) whether the defendant's action
violated “clearly established law" [*18] and (b) whether
it was “objectively reasonable” for the defendant to
believe that his or her action did not violate such law.
Poe_v. Leonard, 282 F.3d 123. 133 (2d Cir. 2002)
(quoting Tierney v. Davidson, 133 F.3d_189, 196 (2d Cir.

1998).

The court recognizes that the doctrine of qualified
immunity has recently been the subject of intense public
scrutiny and debate, especially as the doctrine relates to
police conduct. Courts have also weighed in on the
issue. See, e.g., Jamison v. McClendon, 476 F. Supp.
3d_386, 391-92 (S.D. Miss. 2020) (asserting that
qualified immunity “operates like absolute immunity” in
real life, and that the doctrine "has served as a shield"
for law enforcement officers who have failed to respect
"the dignity and worth of black lives"). HNE[#] Still,
"[t]his Court is required to apply the law as stated by the
Supreme Court." fd. at 392.

HN7[#) The procedural posture of a case affects the
qualified immunity analysis. "Although claims of qualified
immunity ‘should be decided as early as possible in a
case,' it 'is often best decided on a motion for summary
judgment when the details of the alleged deprivations
are more fully developed." Watkins v. Town of Webster,
No. 6:21-CV-06233 EAW, 2022 U.S. Dist, LEX!S 49237,
2022 WL 827824, at *11 (W.D.NLY. Mar 17, 2022)
(quoting Walker v. Schult, 717 F.3d 119, 130 (2d Cir,

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2073}). On a motion to dismiss, “the defense will
succeed only where entitlement to qualified immunity
can be established based solely on facts appearing on
the [*19] face of the complaint.” /d. (cleaned up); see
also Biswas v. Kwait, 576 F. App’x 58, 59 (2d Cir. 2014)
(summary order) ("Qualified immunity is appropriately
granted on a Rule 12(b)(6) motion only if it is based on
facts appearing on the face of the complaint, exhibits to
the complaint, documents incorporated by reference,
and items of which judicial notice may be taken."). This
is a "stringent" standard. Chamberlain ex rel. Estate of
Chamberlain v. City of White Plains, 960 F.3d 100, 110
(2d Cir. 2020) (quoting McKenna v. Wright, 386 F.3d
432, 436 (2d Cir. 2004)).

The following pronouncements guide the court in
seeking the definition of the rights at issue. HNa#] On
one hand, “[c]haracterizing the right too narrowly to the
facts of the case might permit government actors to
escape personal liability.” Ecref v. Maguire, 892 F.3d
925, 539 (2d Cir 2078) (quoting Johnson v. Newburgh
Enlarged Sch. Dist, 239 F.3d 246, 251 (2d Cir. 2001)).
"On the other hand, defining clearly established law at
too high a level of generality 'avoids the crucial question
whether the official acted reasonably in the particular
circumstances that he or she faced." /d. (quoting
Plumhoff_v. Rickard, 572 U.S. 765, 779, 134 S. Ct.
2012, 188 L. Ed. 2d 1056 (2074)).

The County and City Defendants both assert that Mr.
Powell did not have any constitutional right to “an
immediate pause of a lawful arrest in order to be sent to
a hospital for psychological treatment or the
performance of a field psychological evaluation by the
arresting officers.” (Doc. 9-6 at 30-31; Doc. 14-9 at 32.)
That argument characterizes the rights at issue [*20]
too narrowly. It is true that the Complaint repeatedly
faults Defendants for failing to send Mr. Powell to the
hospital or provide him with a mental health evaluation.
But the Complaint also alleges—among other things—
that the officers applied excessive force and that the
officers failed to prevent Mr. Powell from harming
himself,

Regarding the "clearly established" prong, the County
and City Defendants also both assert that "no decision
by the Second Circuit Court of Appeats has held that the
actions complained of . . constitutes deliberate
indifference to serious medical needs under the
Fourteenth Amendment." (Doc. 9-6 at 31; Doc. 14-9 at
32.) The City Defendants define the “actions complained
of" as: "[Flailing to prevent an arrestee from suddenly
and [unexpectedly] injuring himself while he is actively

resisting a lawful arrest." (Doc. 14-9 at 32.) The County
Defendants define those actions similarly but somewhat
more broadly: “[Flailing to prevent an arrestee from
suddenly and [unexpectedly] injuring himself while he is
actively resisting arrest or failing to obtain immediate
mental health treatment while the arrestee is actively
resisting a lawful arrest." (Doc. 9-6 at 31.)

The court is unpersuaded. [*21] In the light most
favorable to Mr. Powell, the Complaint does not state or
suggest that Mr. Powell was resisting arrest. To the
contrary, he asserts that the force applied during his
arrest was "without cause or provocation" and that he
was "at all times, using due care.” (Doc. 1-1 ff 27, 50.)4
For the reasons stated above, under the Rule 72(b)(6)
procedure, the court cannot consider the officers'
declarations or statements to the contrary.

For similar reasons, the court rejects Defendants'
argument that they are entitled to qualified immunity on
Mr. Powell's failure-to-intervene claim. (Doc. 9-6 at 31;
Doc. 14-9 at 32.) The County Defendants maintain that
Deputy Madonia "merely came to the aid of the JPD
officers whom Plaintiff was actively resisting, and the
force used by Deputy Madonia during the course of
Plaintiffs arrest was objectively reasonable." (Doc. 9-6
at 31.) The City Defendants assert that the force they
used "was objectively reasonable while the Plaintiff was
actively resisting a lawful arrest.” (Doc. 14-9 at 33.)
Since the Complaint does not state or suggest that Mr.
Powell was resisting arrest, and the court is excluding
the officers' declarations at this procedural stage,
Defendants [*22] are not entitled to qualified immunity
on the failure-to-intervene claim.

V. Federal Claims

Mr. Powell's federal claims are primarily claims under 42

U.S.C. § 1983. Section 1983 provides in relevant part:
Every person who, under color of any statute,
ordinance, regulation, custom, or usage, of any
State .. . subjects, or causes to be subjected, any
citizen of the United States or other person within
the jurisdiction thereof to the deprivation of any
rights, privileges, or immunities secured by the
Constitution and laws, shall be liable to the party
injured in an action at law, suit in equity, or other

4The Complaint does include an allegation that, at the police
station, one officer remarked that Mr. Powell was “fighting
hard.” (Doc. 1-1 {ff 33.) That remark does not necessarily
establish that Mr. Powell was in fact resisting arrest.

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proper proceeding for redress ....

Section 1983 does not confer any substantive rights but
"merely provides a method for vindicating federal rights
elsewhere conferred." Vill, of Freeport v. Bar relict, 814
F.3d 594, 600 n.8 (2d Cir, 2016) (quoting Patterson v.
Coty. of Oneida, N.Y.. 375 F.3d 206, 225 (2d Cir,
2004)). HNO #) "To state a valid claim under 42 U.S.C.
§ 1983, the plaintiff must allege that the challenged
conduct (1) was attributable to a person acting under
color of state law, and (2) deprived the plaintiff of a right,
privilege, or immunity secured by the Constitution or
laws of the United States." Forbes v. City of Rochester,
No. 6:18-CV-06700 EAW, 2020 U.S. Dist. LEXIS 72655,
2020 WL 1963139, at *3 (W.D.N.Y. Apr. 6. 2020)
(quoting Whalen v. Cnty. of Fulton, 126 F.3d 400, 405

(2d Cir. 1997).

Although Count 2 is the only count that mentions 42
U.S.C. § 1983 in the title of the count, all parties view
several other counts as including [*23] § 7983 claims.
The court considers the plausibility of each of the
possible federal claims below.

A. Count 1---§ 7983 Excessive Force

While it is labeled as a “negligence” claim, Count 1
includes an allegation that Defendants subjected Mr.
Powell to "an unreasonable and excessive use of force”
in violation of his constitutional rights. (Doc. 1-1 § 52.)°
HN10C% | "The right not to be subject to excessive force
derives from the Fourth Amendment for arrestees, the
Eighth Amendment for prisoners incarcerated for a
criminal conviction, and the Fifth or Fourteenth
Amendment for pretrial detainees and individuals who
have not been arrested." Abujayyab v. City of New York,
No. 15 Civ. 10080 (NRB). 2018 U.S. Dist. LEXIS
140914, 2018 WL_3978122. at “4 (S.D.N.Y. Aug. 20.
2018) (citing Edrei_v. Maquire. 892 F.3d 525, 533 (2d
Cir, 2078)). Mr. Powell cites all four of these
Amendments (Doc. 1-1 J 52), but only the Fourth and
Fourteenth Amendments apply to his excessive-force
claim.§

Sin addition to excessive force, Count 1 refers to alleged
failures to provide adequate medical care, failure to supeivise,
failure to intervene, unlawful arrest, and other alleged wrongs.
The court considers the § 7983 excessive-force claim here
and other aspects of the § 7983 claim below.

5 HNI 1] The Fifth Amendment does not apply because it

HN12/ 1 The standards applicable to excessive-force
claims under the Fourth and Fourteenth Amendments
are “largely the same .... Both relate to the objective
reasonableness of the defendants’ use of force... ."
Casiano v. Ashley. 515 F. Supp. 3d 19, 25 (W.DAY.
2021) (citing Kingsley v. Hendrickson, 576 U.S. 389
397,135 S. Ct 2466, 192 L. Ed. 2d 416 (2015)). Proper
application of this objective test requires "careful
attention to the facts and circumstances of each
particular case." Graham v. Connor, 490 U.S. 386, 396
109_S. Ct 1865, 104 1. Ed. 2d 443 (1989). Courts
consider factors such as: “the relationship between the
need for the use of force and the amount of force used;
the extent of the plaintiffs injury; any effort made by the
officer to [*24] temper or to limit the amount offeree; the
severity of the security problem at issue; the threat
reasonably perceived by the officer; and whether the
plaintiff was actively resisting." Kingsley, 576 U.S. at
397.

“Because of its intensely factual nature, the question of
whether the use offeree was reasonable under the
circumstances is generally best left for a jury to decide."
Oakley v. Dolan, 980 F.3d 279, 284 (2d Cir. 2020)
(quoting Holland v. City of Poughkeepsie, 90 A.D.3d
841, 938 N.Y.S.2d 583, 588 (N.Y. App. Div. 2077)).
"Even in the arrest context, the reasonableness of the
force used is often a jury question." /d. “These principles
apply with even greater force at the motion to dismiss
stage, where a court must assume the truth of the
plaintiffs allegations and avoid resolving factual
disputes." /d.

The County and City Defendants raise three arguments
against Mr. Powell's excessive-force claims. First, they
assert that Mr. Powell's allegations are conclusory.
Second, they argue that the allegations fail to state a
plausible excessive-force claim. Third, Defendants
argue that the Complaint lacks allegations of personal
involvement by the named individual supervisory
officers.

"governs the conduct of the federal government and federal
employees, and does not regulate the activities of state
officials or state actors." Gordon v. Semrug, No. 14-CV-324S,
2017 U.S. Dist. LEXIS 78275, 2017 WL 2241966, at *6 n.6
(W.D.N_Y. May 23, 2017) (quoting Cassidy v. Scoppetta, 365
F. Supp. 2d 283, 286 (E.D.N.Y. 2005)). Here, none of the
defendants are alleged to be federal officials. The Eighth
Amendment protects prisoners incarcerated for a criminal
conviction, Edrei, 892 F.3d_at 533; it does not apply here
because Mr. Powell was not an incarcerated prisoner at any
relevant time.

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1. Allegations of Force Used

Defendants argue that “minimal and reasonable force
was used to restrain [Mr. Powell] and take him into
custody." (Doc. 9-6 at 24; Doc. 14-9 [*25] at 31.) HN73{
F) The court is declining to consider the officers’
declarations that Defendants cite in support of this
contention, Still, the court need not credit "bare,
conclusory allegation{s]" in the Complaint on a motion to
dismiss. Smith v. Fischer, No. 13-CV-6127-FPG, 2016
US. Dist. LEXIS 67403, 2016 WL 3004670, at *13
(W.D.N.Y. May 23, 2016) (citing Ashcroft v. lgbal, 556
U.S. 662, 680, 129 S. Ct 1937, 173 L. Ed. 2d 868
(2009)), Defendants argue that Mr. Powell's allegations
are conclusory because he "fails to state with any
specificity how he was battered, grabbed, kneed,
yanked, or thrown to the ground during the course of his
arrest, or when such acts occurred during the course of
the arrest” and also “fails to specify which of the named
defendants committed these alleged acts during the
course of his arrest.” (Doc, 9-6 at 23; Doc. 14-9 at 30-
31.) Mr. Powell insists that he “thoroughly pled what
took place." (Doc. 13-1 at 19; Doc. 20-2 at 22.)

For the reasons discussed above, Mr. Powell is not
required to plead the role that each law enforcement
officer played in alleged brutality committed by a group
of officers. The court is also not persuaded that the
Complaint is deficient for failing to include more details
about the alleged physical contact or the precise order
in which it occurred. The Complaint includes adequate
details about the [*26] officers’ alleged physical conduct
during the arrest; Mr. Powell asserts that officers
"repeatedly grabbed, kneed, yanked his arms, threw him
to the ground, [and] placed handcuffs on him extremely
tight." (Doc. 1-1 J 27.)

This goes beyond the type of conclusory allegation of
"assault" or "battery"—without supporting facts—that
would be inadequate. Hall v. City of New_York, No. 99

Mr. Powell's favor, the court concludes that the
Complaint alleges that officers used more than de
minimis force during the arrest. Cf. Oakley, 980_F.3d at
283 ("When a plaintiff alleges that he was ‘thrown to the
ground’ by actions that ‘greatly exceeded the amount
offeree that was necessary’ and ‘clearly exceeded the
bounds of reasonable behavior," and that he ‘has
suffered and continues to suffer harm,‘ the reasonable
inference to be drawn is that he has been subjected to
an unreasonable amount of force.").

The circumstances alleged are also different [*27] from
those in Johnson v. City of New York, 940 F. Supp. 631
(S.D.N.Y. 1996). In that case, the plaintiff claimed that a
police officer used excessive force by handcuffing him
and leaving him handcuffed for approximately 4-5 hours,
where the plaintiff complained that the handcuffs were
too tight and he sought and received treatment for injury
to his hands following his release from custody. /d. af
§37. The court concluded that the officer was entitled to
qualified immunity on the excessive-force claim. /d. But
the court did not find the plaintiff's allegations about the
facts to be conclusory.

2. injuries Caused

HN15(#| A plaintiff claiming excessive force “must
allege that he sustained an injury.” Forbes, 2020 US.
Dist. LEXIS 72655, 2020 WL 1963139. at “4,
"Conclusory allegations of ‘physical and emotional
injuries ... are no more than labels and conclusions and
do not plausibly state an excessive force claim."
Bowers v. City of Salamanca, No. 20-CV-1206-LUV,
2027 U.S. Dist. LEXIS 129406, 2021 WL 2917672, at *9
(W.D.N.Y. July 12, 2027) (alteration in original) (quoting
Youngblood, 2016 U.S. Dist. LEXIS 92313. 2016 WL
3919650, at *4). "[T]here is no threshold degree of injury
a plaintiff must allege in order to successfully pursue an
excessive force claim." Jackson v. Mastrangelo. No.
6:17-CV-06448 EAW, 582 F. Supp. 3d 91, 2022 U.S.

CIV. 979(GEL), 2001 U.S, Dist. LEXIS 13569, 2001 WL

Dist, LEXIS 16890. 2022 WL 274043, at *6 (W.D.NLY.

1029046, at *5 n.6 (S.D.N. Y. Sept. 5, 2001); see also
Youngblood _v. City of New_York, No. 15 Civ.
SS41T(AT (HBP), 2016 U.S. Dist. LEXIS 92313, 2016 WL.
3919650, at *4 (S.D.N.Y. June 27, 2016) (plaintiff failed
to plead any facts describing "the nature of the force
used"). HN14(#] The court is mindful that "[nJot every
push or shove amounts to a Fourth Amendment
violation. Indeed, a de minimis use of force will rarely
suffice to state a Constitutional claim." Forbes, 2020
U.S, Dist, LEXIS 72655, 2020 WL_1963139, at *4
(cleaned up). But drawing all reasonable inferences in

Jan. 31, 2022).

As noted above, the Complaint includes an allegation
that as a result of Incidents 1 and 2, Mr. Powell was
"injured internally, externally, and permanently in and
about the face, head, back, chest, shoulders, [*28]
limbs, torso, and nervous system, so that he became
and will continue to be disabled and will continue to
suffer pain and discomfort, distress, and psychological
adjustment.” (/d. J 49.) Mr. Powell alleges that as a
result of his injuries he “required the services of

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physicians, surgeons, nurses, hospitals, and medicines
and will continue to incur such expenses in the future.”
(ld. | 51.) The Complaint also alleges that he suffered
“severe, painful, permanent and personal injuries; was
rendered sick, sore lame and disabled, and suffered a
loss of enjoyment and quality of life." (/o. J 85.)

These descriptions do not distinguish which injuries
resulted from force applied by law enforcement officers
versus force that Mr. Powell used himself. In the present
context, the court draws all reasonable inferences in Mr.
Powell's favor. Doing that, the court can infer that at
least some of the injuries described were the result of
force applied by law enforcement officers. Similarly, the
Complaint goes beyond a mere conclusory allegation of
“physical and emotional injuries" and alleges internal
and external injuries to specific locations of Mr. Powell's
body and ongoing pain. That is sufficient [*29] at this
stage of the case. Cf Bowers, 2027 U.S. Dist. LEXIS
129406, 2027 WL 2917672, at *9 (denying motion to
dismiss excessive-force claims where the plaintiff
alleged torn muscie and tendon plus shoulder and spine
injuries),

3. Personal Involvement

HN16[%] To state a claim under § 7983, a plaintiff must
plead "that each Government-official defendant, through
the official's own actions, has violated the Constitution.”
fangreti v. Bachmann, 983 F.3d 609, 616 (2d Cir, 2020)
(quoting Jgbal, 556 U.S. af 676). The County
Defendants argue that Mr. Powell does not allege that
Sheriff Quattrone or Undersheriff Braley used any force
against him. (Doc. 9-6 at 23.) Similarly, the City
Defendants argue that the Complaint lacks any
allegation that Chief Jackson used any force against Mr.
Powell. (Doc. 14-9 at 31.)

The court agrees with Defendants that the Complaint
lacks any allegations that Sheriff Quattrone,
Undersheriff Braley, or Chief Jackson personally used
any physical force on Mr, Powell at any relevant time.
There are no allegations that those supervisory law
enforcement officers were even present for any of the
alleged events, and no allegations from which a
reasonable factfinder could draw that inference. Mr.
Powell's assertion that the incidents “involved
CHAUTAUQUA COUNTY SHERIFFS and
JAMESTOWN POLICE OFFICERS" (Doc. 1-1 ff 26)
is [*30] insufficient to plausibly allege that Sheriff
Quattrone, Undersheriff Braley, or Chief Jackson
personally used any physical force against Mr. Powell.

See Green _yv. Garcia, No. 18-CV-1745 (KMK), 2020
U.S. Dist. LEXIS 55164, 2020 WL 1467359, at “5
(S.D.N.Y. Mar. 25. 2020) {dismissing excessive force
claims against certain officers because plaintiff failed to
plead that "each of them was individually present during
the alleged assault"). The court will therefore dismiss
the § 7983 excessive-force claims against those
individual defendants.

B. Count 2—§ 7983 Monell Claim

Count 2 is entitled "Violation of Federal Civil Rights
Municipal Liability: 42 U.S.C. § 1983." (Doc. 1-1 at 22.)
It includes the following allegations. Mr. Powell asserts
“upon information and belief that prior to Incidents 1
and 2:
» "T]he defendants had notice of the defendants
employees] pattern and practice of using
unconstitutionally excessive force and assaults
against other civilians in the course of an unlawful
arrest and members of the public while in their
capacity as police officers, including but not limited
to failing to treat medical conditions and preventing
self harm"; and

¢ "(T]he defendants had received complaints and
service of prior lawsuits that the defendant
employees engaged in a pattern and practice of
using unconstitutionally excessive [*31] force
assaulting civilians, and failing to treat medical
conditions in the course of unlawful arrests and
members of the general public in the course of their
duties as police officers including but not limited to
failing to treat medical conditions and preventing
self harm."

(Doc. 1-1 Jf 63-64.) Mr. Powell further asserts "upon

information and belief that at all relevant times it was

“the policy and custom of the defendants” to:
* "[Flail to adequately train and supervise its
employees relating to the use of force including but
not limited to failing to treat medical conditions and
preventing self harm”;
+ "[O]verlook, excuse, and disregard unprovoked
acts of violence by its employees in the course of
their duties as police officers, including but not
limited to failing to treat medical conditions and
preventing self harm";
« "[TJolerate the indiscriminate use of excessive
force against civilians in the course of unlawful
arrests without reference to a reasonable use-of-
force continuum and without consideration of
recourse to less deadly use [of] force, and to also

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fail to treat medical conditions and prevent self
harm";

* "[Tlolerate and encourage the use of excessive
force and assault [*32] in dealing with civilians in
the course of unlawful arrests in the course of their
duties as police officers, including but not limited to
failing to treat medical conditions and preventing
self harm."

(Id. 9] 65-68.)

Defendants assert——and Mr. Powell agrees—that Count
2 is a claim against the municipal entity defendants
under Monell v. Department of Social Services of the
City of New York, 436 U.S. 658, 98 S. Ct. 2018, 56 L.
Ed. 2d 611 (1978). HN17[#] "The elements of a Monell
claim are (1) a municipal policy or custom that (2)
causes the plaintiff to be subjected to (3) the deprivation
of a constitutional right." Agosto v. N.Y. C. Dep't of
Educ. , 982 F.3d 86, 97 {2d Cir. 2020). Consistent with
their positions on Mr. Powell's other claims, Defendants
argue that the Complaint fails to plausibly allege any
deprivation of a constitutional right. (Doc. 9-6 at 18; Doc.
14-9 at 19.) But the court focuses here on Defendants’
additional argument that the Monel! claim fails for lack of
allegations plausibly establishing any municipal policy or
custom. (Doc. 9-6 at 18; Doc. 14-9 at 20-21.)

Defendants argue that the Complaint lacks sufficient
factual details to support an inference of any relevant
municipal policy or custom, and that Mr. Powell cannot
establish such an inference by relying only on the
events during his arrest. (See Doc, 9-6 at 18; Doc. 14-9
at 21.) Mr. Powell argues that: (1) [*33] he can show a
municipal policy or custom by showing an adequately
persistent and widespread practice; (2) his allegations
satisfy the less stringent pleading standards for failure-
to-train claims under Amnesty America v. Town of West
Hartford, 361 F.3d_113, 130.n.10 (2d Cir, 2004); and (3)
the court need not rely on the number of incidents but
must instead assess the totality of the circumstances.
(Doc. 13-1 at 13; Doc. 20-2 at 18-19.) In reply,
Defendants insist that the Complaint fails to plausibly
allege Monell liability. (Doc. 18 1 at 6; Doc. 23 at 3.)

1. Inference of Policy or Custom from Similar
Incidents of Misconduct

HN18[#] Mr. Powell correctly observes that "[tlo show a
policy, custom, or practice, the plaintiff need not identify
an express rule or regulation." Patferson, 375 F.3d _ at

226, "It is sufficient to show, for example, that a
discriminatory practice of municipal officials was so
‘persistent or widespread’ as to constitute 'a custom or
usage with the force of law .. ."" /d. (quoting Soriucco v.
N.Y.C. Police Dep't, 971 F.2d 864, 870-71 (2d Cir.
1992)). Thus "a plaintiff can rely on allegations of similar
misconduct to plead that there was a widespread
practice, policy or custom." DiPippo v. Cnty. of Putnam,
No. 17-cy-7948 (NSR), 2079 U.S. Dist. LEXIS 33071
2019 WL 1004152, al *8 (S.D.N_Y. Feb. 28, 2019). And,
depending on the particular circumstances, a plaintiff
need not present a large number of similar incidents,
See id. (courts evaluating Monell claims should consider
“the [*34] number of instances alleged relative to the
size of the [law enforcement] department and relative to
the time frame at issue").

However, apart from relying on these statements of /aw,
Mr. Powell points to no allegations of fact referencing
even one specific incident similar to the alleged events
of December 10, 2020. The Complaint's allegations
“upon information and belief in paragraphs 63-64
suggest that Mr. Powell seeks to rely on prior incidents
and complaints of "defendant employees” engaging in
“excessive force and assaults,” failing to treat medical
conditions, and failing to prevent self-harm. (Doc. 1-1 [ff
63-64.) But the Complaint is entirely conclusory
regarding these alleged prior incidents. Such
unspecified prior incidents—without any details at all---
are insufficient. See, e.g., Jackson v. City of Syracuse,
No. 5:20-CV-1215 (GTS/ML), 2027 U.S. Dist. LEXIS
187578, 2021 WL_3710494, at *6 (N.D.NLY. Aug. 20,
2027) (rejecting plaintiff's attempt to establish municipal
liability based on a theory of alleged “numerous”
violations in the prior six years against unidentified
minorities by unidentified officers; reasoning that the
complaint lacked “facts plausibly suggesting how many
(if any) of the complaints alleging the violations were
found to be substantiated, when they occurred and
under what circumstances"). [*35]

2. inference of Policy or Custom from Failure to
Train

Mr. Powell also argues that a policy or custom can be
inferred from a failure to train. (Doc. 13-1 at 13; Doc. 20-
2 at 18.) HN19[#] Indeed, such an inference can be
drawn where "the municipality so failed to train its
employees as to display a deliberate indifference to the
constitutional rights of those within its jurisdiction."
Patterson, 375 F.3d at 226 (quoting Kern v. City of
Rochester. 93 F.3d 38, 44 (2d Cir, 1996)). Mr. Powell

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relies on Ferrari v. County of Suffolk, 790 F. Supp. 2d
34 (E.D.N.Y. 2011), for the proposition that since
plaintiffs have no realistic way to learn about a
municipality's training programs without discovery, they
“need only plead that the city's failure to train caused
the constitutional violation,’ in order to plead municipal
liability." jd. at 45 (quoting Amnesty Am., 361 F.3d_at
130 7.10).

Notably, the Second Circuit decided Amnesty America
in 2004—before the Supreme Court decided Jabal
(2009) and Twombly (2007). HN20#| And since the
Ferrari decision, the Second Circuit has clarified that
"while it may be true that § 7983 plaintiffs cannot be
expected to know the details of a municipality's training
programs prior to discovery, . this does not relieve them
of their obligation under /gbal to plead a_ facially
plausible claim." Simms _v. City of New_York, 480_F.
App'x 627, 637 n.4 (2d Cir, 2012} (summary order).
"There are a number of ways that plaintiffs can plausibly
allege a § 7983 claim for municipal liability [*36]
premised on a failure to train theory without having
detailed knowledge of a municipality's training
programs." Jd. The court therefore respectfully declines
to follow Ferrari insofar as that case suggests that the
pleading standard articulated in Amnesty America could
continue to apply after /gbal and Twombly.

In short, as the district court stated in Simms, Mr. Powell
must provide "more than a simple recitation of [his]
theory of liability, even if that theory is based on a failure
to train." Simms v. City of New York, No. 10-CV-3420
(NGG)(RML), 2011 U.S. Dist. LEXIS 115949, 2017 WL

those defendants in their individual and official
capacities (Doc, 1-1 at 5), the court considers both such
capacities here.

1. Official Capacity

There can be no plausible claims against Sheriff
Quattrone, Undersheriff Braley, and Chief Jackson in
their official capacities because, for the reasons
discussed above, Mr. Powell has failed to plead a viable
Monelf claim against any municipal defendant. See Ortiz
vy. Wagstalf, 523 F. Supp. 3d 347, 361 (W.D.N.Y. 2027)
("Section 1983 claims against municipal employees
sued in their official capacity are treated as claims
against the municipality itself. Therefore, in order to
assert a viable claim against a municipal employee in
his official capacity, the plaintiff must have a viable
Monell claim against the municipality.” (quoting Seri v.
Town of Newtown, 573 F. Supp. 2d 661, 671 (D. Conn.
2008))).

Mr. Powell argues that his official-capacity claims are
not duplicative of his Monell claim because the
supervisory officers can be held liable on a theory of
respondeat superior. (Doc. 20-2 at 16.) In support, he
cites this court's statement in Davis v. Erie Oily. Sheriff
Deptt, No. 17-CV-955, 2019 U.S. Dist. LEXIS 173798,
2019 WL 4926289, at *t (W.D.N_Y. Oct. 7, 2019}, thata
county "may be held liable for acts committed by the
Sheriff and his deputies." But the plaintiff in Davis
brought a claim under Title Vil of the Civil Rights Act of
1964. In contrast, [*38] the court is considering here the

4543051, at *2 n.3 (E.DN.Y. Sept. 28, 2017}. The
Complaint fails to do that. Since all of Mr. Powell's
arguments for inferring a policy or custom fail,
Defendants are entitled to dismissal of the Monel claim.
This conclusion also requires dismissal of Count 3
("Respondeat Superior/Vicarious Liability") as
duplicative of the Monel! claim insofar as Count 3 seeks
to hold the municipal defendants liable for a § 1983
claim. See Monell, 436 U.S. at 697 ("[Al municipality
cannot be held liable under § 7983 on a respondeat
superior theory.").

C. Section 1983 Supervisory Liability

Mr. Powell alleges that the defendants "failed to properly
supervise their employees and the participating officers
in their activities.” (Doc. 1-1 § 52.) The court interprets
the Complaint as seeking to impose § 7983 supervisory
liability on Sheriff Quattrone, Undersheriff [*37] Braley,
and Chief Jackson. Since the Complaint names each of

plausibility of a § 7983 supervisory liability against
Sheriff Quattrone, Undersheriff Braley, and Chief
Jackson. HN21F) Since claims against the officers in
their official capacities are treated as claims against the
municipalities themselves, respondeat superior does not
authorize a § 7983 claim against those defendants in
their official capacities. See Monell, 436 U.S. at 891
("(A] municipality cannot be held liable under § 7983 on
a respondeat superior theory.").

2. Personal Capacity

HN22#] To state a personal-capacity claim under §
1983, Mr. Powell must allege facts showing Defendants’
personal involvement in the alleged constitutional
deprivations. See Spavone v. N.Y. State Dep't of Corr.
Servs., 719 F.3d 127, 135 (2d Cir. 2073) ("It is well
settled in this Circuit that personal involvement of
defendants in alleged constitutional deprivations is a

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prerequisite to an award of damages under § 1983."
(quoting Colon _v. Coughlin. 58 F.3d 865, 873 (2d Cir.
1995)); Pagan v. City of Rochester, No. 17-CV-6073-
CJS, 2017 US, Dist, LEXIS 148454, 2017 WL 4042545,
at *7 (W.D.NLY. Sept. 73, 2017) (personal involvement
required to establish § 7983 liability against police chief
in his personal capacity). Here, Sheriff Quattrone,
Undersheriff Braley, and Chief Jackson argue that the
Complaint fails to adequately allege their personal
involvement in any of the alleged violations. (Doc. 9-6 at
19; Doc. 14-9 at 17.) Mr. Powell maintains that he has
adequately alleged that each supervisory [*39] officer
violated his constitutional rights by their individual
actions, (Doc. 13-1 at 15; Doc, 20-2 at 16.)

HN23#] Before the Supreme Court's /gba/ decision,
the Second Circuit identified five categories of evidence
to show the personal involvement of a supervisory
defendant:
(1) the defendant participated directly in the alleged
constitutional violation, (2) the defendant, after
being informed of the violation through a report or
appeal, failed to remedy the wrong, (3) the
defendant created a policy or custom under which
unconstitutional practices occurred, or allowed the
continuance of such a policy or custom, (4) the
defendant was grossly negligent in supervising
subordinates who committed the wrongful acts, or
(5) the defendant exhibited deliberate indifference
to the rights of inmates by failing to act on
information indicating that unconstitutional acts
were occurring.

Colon, 58 F.3d at 873. But the Second Circuit has since
held that “after /gbai, there is no special rule for
supervisory liability." Tangreti, 983 F.3d af 678.
"Instead, a plaintiff must plead and prove ‘that each
Government-official defendant, through the official's own
individual actions, has violated the Constitution.” /d.
(quoting igbal, 556 U.S. at 676). “The factors necessary
to establish a [*40] § 7983 violation will vary with the
constitutional provision at issue because the elements
of different constitutional violations vary." Id. (cleaned

up).

Mr. Powell relies on Wilson v. Soucy, No. 3:18-cv-1680

constitutional claim does not require a showing of
discriminatory intent, Tangreti, 983 F.3d at 617 & nb.
Therefore, even if Mr. Powell's claims do not require him
to show discriminatory intent, the Colon analysis is
inapplicable,

Applying the Tangreti analysis, the court agrees with
Defendants that the Complaint fails to allege the
personal involvement of Sheriff Quattrone, Undersheriff
Braley, and Chief Jackson. Notably, the Complaint
mentions those individuals by name only in the caption
and in a section introducing the parties. The allegation
that defendants "faile[d] to adequately train and
supervise [their] employees relating to the use of force
including but not limited to failing to treat medical
conditions and preventing self harm" (Doc. 1-1 | 65) is
conclusory and insufficient. See Guzman v. McCarthy,
No. 9:21-CV-1192 (MAD/ATB), 2022 US. Dist, LEXIS
39038, 2022 WL 630873, at *3 (N.D.N.Y. Mar. 4,
2022) [*41] (mere allegation that prison superintendent
failed to train his officers to protect inmates from harm

was “not enough to plausibly allege the
[superintendent's] personal involvement").
Similarly, the conclusory allegation that Sheriff

Quattrone, Undersheriff Braley, and Chief Jackson
“established a policy or custom of deliberate indifference
to unlawful conduct" (Doe. 1-1 {J 70) is insufficient to
state a plausible claim of § 7983 supervisory liability
against those officers. HN24°#} "Although after Tangreti
courts must resolve claims against supervisor-
defendants without reference to Colon's special
standards for supervisory liability, the legal standard
under the fourth Colon factor is virtually identical to the
Fourteenth Amendment deliberate-indifference standard
applicable here." Falls _v. (Police Officer) Detective
Michael Pitt, No, 16-CV-8863 (KIMK), 2021 U.S. Dist.
LEXIS 58197, 2021 WL 1164188, at *34 (S.D.N.Y. Mar.
26, 2021). Here, the Complaint's allegation that
Defendants received complaints in prior (unspecified)
lawsuits (Doc. 1-1 ] 64) is insufficient to show that the
supervisory defendants knew or should have known of a
risk of unlawful conduct, or that they deliberately or
recklessly disregarded that risk. See jd. (citing Gantt v.
Ferrara, No. 15-CV-7661 (KMK), 2018 U.S. Dist. LEXIS
166689, 2018 WL 4636991, at *7 (S.D.N.Y. Sept. 27,

(AWT), 2020 U.S. Dist. LEXIS 177828, 2020 WL
5764117, at *6 n.1 (D. Conn. Sept. 28, 2020), for the
proposition that the Cofon analysis still applies in cases
where the claim does not require a showing of
discriminatory intent. But Wiison was decided before
Tangreti, and the Second Circuit in Tangret/ rejected the
theory that the Colon analysis still applies where the

2078)) (without details of other complaints, allegations
were insufficient to make out a claim of supervisor's
deliberate [*42] indifference). And as discussed above,
the Complaint lacks any sufficiently specific allegations
from which to infer a policy or custom that might have
caused the deprivation of a constitutional right.

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D. Count 12-—-§ 7983 Failure to Intervene

In Count 12, Mr. Powell alleges that "defendants
assumed a duty to protect plaintiff from the striking,
battering and assault by the defendants and their failure
to provide plaintiff with medical treatment and to protect
him from self harm" and that "defendants did not take
any steps to protect the plaintiff from the assault, in fact
such individuals stood idly by and watched as plaintiff
was repeatedly struck.” (Doc. 1-1 9 153, 155.) Mr.
Powell further alleges that "defendants also did not take
any steps to protect plaintiff from defendanits['] failure to
provide plaintiff with medical treatment and to protect
him from self harm.” (/d. | 155.)

Defendants seek dismissal of Count 12 on the grounds
that the Complaint does not specify which defendants
committed the alleged acts and omissions. (Doc. 9-6 at
29; Doc. 14-9 at 25.) The court rejects that argument for
the reasons discussed above regarding "group
pleading.” See supra Part Ill. HN25(*] In the context of
an [*43] alleged assault by a group of law enforcement
officers, the plaintiff is not required to set forth in detail
the actions and omissions of each officer. See Bryant,
2022 U.S. Dist. LEXIS 6392, 2022 WL_119184, at *10-
42 (denying motion to dismiss __failure-to-
protect/intervene claims premised on multiple officers’
alleged use of excessive force).

The County Defendants further seek dismissal of Count
12 on the grounds that “Plaintiff has failed to plausibly
allege a constitutional injury in the first place." (Doc. 9-6
at 30.) HN26(#] It is true that to prevail on a failure-to-
intervene claim, “a plaintiff must demonstrate the
existence of an underlying constitutional violation in
which the defendant officer failed fo intervene." Grinols
v. Beers, 532 F. Supp. 3d_95, 109 (W.D.N.Y. 2027)
(quoting Walker _v. City of New_York, No. 11-CV-
00314(CBA)(IMA), 2014 U.S. Dist. LEXIS 197314, 2014
WL 12652345, at *12 (E.D.N.Y. Sept. 3, 2014)); see
also Matthews v. City of New_York, 889 F. Supp. 2d
418, 443-44 (E.D.N.Y. 20172) ("[Tjhe failure to intervene
claim is contingent upon the disposition of the primary
claims underlying the failure to intervene claim."). But
since the court has denied Defendants’ motion to
dismiss the excessive-force claim, supra Section V.A.,
there is a plausible underlying claim of a constitutional
violation. The court will not dismiss Count 12 against the
County Defendants on this basis.

Finally, the City Defendants assert that Count 12 "is
baseless and without merit as the Plaintiff was attended

to numerous [*44] times in a relatively short time
period." (Doc. 14-9 at 26.) But for that argument the City
Defendants rely on extrinsic evidence that the court is
excluding from consideration in the present context.
(See id.) The court will not dismiss Count 12 against the
City Defendants on this basis.

E. Count 13—§ 7983 Unlawful Arrest

The court interprets Count 13 as a claim for false arrest
under § 7983. HN27(#) "The elements of a claim of
false arrest under § 7983 are substantially the same as
the elements of a false arrest claim under New York
law." Santiago v. City of Rochester, 481 F. Supp. 3d
152, 156 (W.D.N.Y. 2020) (quoting Maron v. Cnty. of
Albany, 166 F. App'x 540, 547 (2d Cir. 2006) (summary
order)). "[U]nder New York law, the elements of a false
arrest claim are: (1) the defendant intended to confine
the plaintiff, (2) the plaintiff was conscious of the
confinement, (3) the plaintiff did not consent to the
confinement, and (4) the confinement was not otherwise
privileged." /d. (alteration in original) (quoting Maron,
166 F. App’x at 541). "The existence of probable cause
to arrest’ renders the confinement privileged 'and is a
complete defense to an action for false arrest.” id. af
186-57 (quoting Horvath v. City of New York, No. 72 CV
6005(RJD)(JMA), 2075 U.S. Dist. LEXIS 51029, 2015
WL 1757759, at *3 (E.D.N.Y. Apr. 17, 2018)).

HN28[#] "(A]n arrest pursuant to a facially valid arrest
warrant is presumed to be made with probable cause . .
.." Martinetti_v. Town of New Hartford Police Dep't, 12
F. App’x 29, 32 (2d Cir. 2001) (summary order). Here,
the court is taking notice of the December 9, 2020 [*45]
warrant for Mr. Powell's arrest issued by Jamestown
City Court Judge John L. LaMancuso. (Doe. 9-2.)
Although a plaintiff can demonstrate that his right not to
be arrested without probable cause was violated “where
the officer submitting the probable cause affidavit acted
with reckless disregard for the truth," Martinetti, 12 F.
App’x at 32 (cleaned up), Mr. Powell does not attack the
probable cause affidavit. The court therefore concludes
that Defendants are entitled to dismissal of Count 13.

F, Count 14—§ 1983 Deliberate Indifference to
Medical Needs

Count 14—entitled “Failure to Treat"—asserts that
Defendants were deliberately indifferent to Mr. Powell's
right "to receive proper and adequate medical
evaluation and attention." (Doe. 101 | 175.) All

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Defendants argue that Mr. Powell did in fact receive
emergency medical evaiuations after his arrest. (Doc. 9-
6 at 25; Doc. 14-9 at 27.) But since those arguments
rely on materials outside of the Complaint that the court
is excluding, Defendants are not entitled to dismissal of
Count 14 on this basis. The court therefore turns to
Defendants’ other arguments against Count 14.

1. Personal Involvement of the County Defendants

The County Defendants argue for dismissal of Count
14 [*46] to the extent that it seeks to hold them liable
“for any purported deliberate indifference to medical
needs while [Mr. Powell] was in the custody of the City
Defendants in the JPD squad car and the JPD's Central
Booking Bureau." (Doc. 9-6 at 24-25.) Mr. Powell does
not appear to contest the point that no County
Defendant was present for any of the events after he
was placed in the JPD squad car. But he notes that the
Complaint does allege that County Defendants were
present at the time of his arrest, at which time he
allegedly made statements about his mental state and
requested that he be taken to a hospital for mental
health treatment. (Doc. 13-1 at 20.) The court therefore
concludes that there is no dispute that the County
Defendants are entitled to only the partial dismissal of
Count 14 that they seek.

2. Objective Serious Need and Subjective Deliberate
indifference

HN29#] The Due Process Clause requires “the
responsible government or governmental agency to
provide medical care to persons .. . who have been
injured while being apprehended by the police." City of
Revere v. Mass. Gen. Hosp., 463 U.S. 239. 244, 103 S.
Ct. 2979, 77 L. Ed, 2d 605 (1983). "A pretrial detainee
may establish a § 7983 claim for allegedly
unconstitutional conditions of confinement by showing
that the officers acted with deliberate [*47] indifference
to the challenged conditions." Darne/l_v. Pineiro, 849
F.3d 17, 29 (2d Cir. 2077).
This means that a pretrial detainee must satisfy two
prongs to prove a claim, an “objective prong”
showing that the challenged conditions were
sufficiently serious to constitute objective
deprivations of the right to due process, and a
"subjective prong"—perhaps better classified as a
"mens rea prong” or “mental element prong"—
showing that the officer acted with at least
deliberate indifference to the challenged conditions.

id. Defendants argue that Mr. Powell's allegations are
insufficient as to both the "objective" and “subjective”
prongs. (Doc. 9-6 at 27; Doc. 14-9 at 28.)

HNBO[#] Regarding the objective prong, failure to
attend to a medical condition can be a constitutional
violation "depending on the facts of the particular case."
Tolbert v. Sullivan, No. 19-CV-1697-dLS, 2027 U.S.
Dist. LEXIS 83435, 2021 WL_1721025, at “9 (W.D.NLY.
Apr. 29, 2021) (quoting Harrison v. Barkley. 219 F.3d
132, 137 (2d Cir. 2000)); see also Durr v. Slator, 558 F.
supp. 3d 1, 42 (N.D.N. Y. 2021) (pretrial detainee
alleging deliberate indifference to a need for medical
care must show a "sufficiently serious need"). "In the
context of mental health needs, ‘propensities to attempt
suicide, harm oneself, and/or exhibit severe depression
or anxiety attacks have been viewed as sufficiently
serious." Tolbert, 2027 U.S. Dist. LEXIS 83435, 2021
WL_1721025, at *9 (quoting Young v. Choinski, 15 F.
Supp. 3d 194, 199 (D. Conn. 2074)). Here, the
Complaint includes multiple allegations that Mr. Powell
expressed suicidal [*48] ideation and that he engaged
in self-harm. The allegations plausibly establish
sufficiently serious mental health conditions and safety
needs of which defendants were aware. See Kelsey v.
City of New_York, No. 03-CV-5978(JFB)(KAM)}, 2006
U.S. Dist. LEXIS 91977, 2006 WL 3725543. at *4
(E.D.N.Y. Dec. 18 2006) (arrestee who exclaimed
"shoot me, kill me" and tried to grab officer's gun had a
"right to care and protection, including protection from
suicide"),

HN31EF] As to the subjective prong, the court considers
whether the allegations plausibly indicate that
defendants knew and disregarded an “excessive risk to
health or safety." Darnell, 849 F.3d_at 35. Mr. Powell
does not allege that Defendants' conduct put him at
excessive risk of death by suicide. Cf. Kelsey, 2006 U.S.
Dist, LEXIS 91977, 2006 WL 3725543. at *4 ("In the
detainee suicide context, the relevant inquiry is whether
defendants were deliberately indifferent to the medical
need of the detainee to be protected from himself.").
Instead, Mr. Powell claims that Defendants failed to
protect him from injuring himself and failed to provide a
mental health evaluation or send him to a hospital for
mental health treatment. The court therefore focuses on
Mr. Powell's rights to mental health care and protection
from non-lethal self-harm during his arrest and
detention.

For present purposes, the court takes it to be true that
Mr. Powell's mental health [*49] condition was serious
and deteriorating during Incidents 1 and 2. Some courts

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have held that delaying a mental health screening for
recently arrested detainees could be "deliberately
indifferent to the possibility that some combative
mentally ill detainee might suffer harm as a result of
being jailed without receiving an immediate screening.”
Lemire v. Cal. Dept of Corr. & Rehab.. 726 F.3d 1062.
1078 (9th Cir, 2013) (citing Gibson v. Cnty. of Washoe,
Nev., 290 F.3d 1175, 1190 (9th Cir. 2002)). But the
mentally ill individual in Lemire died of apparent suicide
and the manic-depressive detainee in Gibson died after
a heart attack. Defendants argue that Mr. Powell has
not alleged how their alleged failure to provide
immediate mental health screening or treatment caused
him any injury. (Doc, 9-6 at 26; Doc. 14-9 at 28.)

Mr. Powell does not attempt to quarrel with the
requirement that he allege causation and damages to
state a § 1983 claim. HN32[#*] Those are required
elements of the claim. See Cr. For Bio-Ethical Reform,
Inc. v. Black, No. 13-CV-581A. 2013 U.S. Dist. LEXIS
192703, 2013 WL 12099855, at * (W.D.N.Y. Oct. 7,
2073) ("To state a claim under Section 1983, a plaintiff
must show: (1) actions taken under color of law; (2)
deprivation of a constitutional or statutory right; (3)
causation; [and] (4) damages." (alteration in original)
(quoting Rahman v. Fisher, 607 F. Supp. 2d 580, 584
(S.D.N.Y_ 2009))), report and recommendation adopted
in part 234 F. Supp. 3d 423 (W.D.N.Y. 2017): see also
Cash v. Cnty, of Erie, 654 F.3d 324, 341 (2d Cir. 2011)
(affirming jury instruction in § 7983 case describing
causation as the “third element" of the claim); [*50]
Brocuglio_v. Proulx, 478 F. Supp. 2d 309. 322-23 (D.
Conn. 2007) ("To prevail on a section 1983 claim, a
plaintiff must prove four elements: (1) actions taken
under color of law; (2) deprivation of constitutional or
statutory right; (3) causation; and (4) damages." (citing
42 U.S.C. § 1983))."

As noted above, the Complaint alleges a variety of
physical and mental injuries. See supra Section V.A.2.
The allegations do not distinguish which physical
injuries resulted from force applied by law enforcement
officers versus force that Mr. Powell used himself. But,
drawing ail reasonable inferences in Mr. Powell's favor,

Tin some jurisdictions causation is a component of the
subjective prong. See Jett v. Penner, 439 F.3d 1097, 1096
(9th Cir, 2006) ("This second prong—defendant's response to
the need was deliberately indifferent—is satisfied by showing
(a) a purposeful act or failure to respond to a prisoner's pain or
possible medical need and (b) harm caused by the
indifference."),

the court concludes that he has plausibly alleged that at
least some of his self-inflicted physical injuries could
have been avoided if he received mental health
treatment earlier during the course of the events alleged
in Incidents 1 and 2. Similarly, drawing all reasonable
inferences in Mr. Powell's favor, the court concludes that
he has plausibly alleged that his mental health
degenerated in a significant way due to a delay in
treatment on December 10, 2020.

The court has also considered Mr. Powell's right to
protection from non-lethal self-harm, The Complaint
alleges that Defendants "allowed" Mr. Powell to hit his
head on objects during the arrest and before [*51] he
was brought into the police station (Doc. 1-1 | 31, 32,
34), that they improperly handcuffed him to a bench
instead of putting him in a restraint chair to prevent him
from injuring himself (id. Y 36), and that after the
arraignment they "allowed" him to hit his head on metal
bars (id. | 44) and to bang his head and neck on the
back of the restraint chair (id. | 45). Taking Mr. Powell's
allegations as true and granting him all reasonable
inferences, the court concludes that he has plausibly
alleged that the defendant officers were deliberately
indifferent to Mr. Powell’s medical need to be protected
from injuring himself.

G. Count 15—§ 7983 or § 1985 Conspiracy

Count 15—labeled “Conspiracy"—is arguably a claim for
conspiracy under 42 U.S.C. §§ 1983 or 1985. The
parties have not briefed the possible application of §
1985, and have instead focused only on the plausibility
of a § 7983 conspiracy claim. HN33[#] "Conspiracy
under § 7983 and conspiracy under § 7985 are distinct
causes of action with different elements." Nichols _v.
Livingston Cnty, No. 6:18-cv-06669 EAW, 2079 US.
Dist. LEXIS 142201, 2019 WL 3935998, at *9 (W.D.NLY.
Aug. 20, 2019) (quoting Hamilton v. City of N.Y.. No, 15-
CV-4574 (CBA) (SJB), 2019 U.S. Dist. LEXIS 56606,
2019 WL 1452013, at *30 (E.D.N.Y. Mar. 19. 20179)).
“However, it is necessary to each of these causes of
action that there has been an underlying constitutional
violation.” /d.

Defendants argue that Mr. Powell has failed to [*52]
allege any underlying constitutional violation. (Doc. 9-6
at 28; Doc. 14-9 at 29.) The court rejects that argument
because, as discussed above, at least some of Mr.
Powell's constitutional claims meet the plausibility
threshold.

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Defendants also argue that Mr. Powell's conspiracy
claim is vague and conclusory. (Doc. 9-6 at 28; Doc, 14-
9 at 29.) HN34[¥] “Vague and conclusory allegations
that defendants entered into an unlawful agreement will
not suffice to state a conspiracy claim under either §
1983 or § 7985(3)." Trombley v. O'Neill, 929 F. Supp. 2d
87, 97 (N.D.N.Y. 2013). Mr. Powell refers to the
allegations in Count 15 (Doc. 1-1 9] 178-181) and
argues that he has not yet had the opportunity to
conduct discovery to reveal circumstantial evidence of a
conspiracy. (Doc. 13-1 at 22; Doc. 20-2 at 25.) The
County Defendants argue that, by citing the need for
discovery, Mr, Powell has conceded the implausibility of
his conspiracy claim. (Doc. 18-1 at 12.)

The court concludes that Mr. Powell has failed to state a
plausible § 7983 or § 7985 conspiracy claim. The
Complaints allegations of a conspiracy are entirely
conclusory—t lacks any factual details of formation of
an agreement to violate Mr. Powell's rights or any
specific acts in furtherance of such an agreement. (See
Doc. 1-1 [*53] Jf 179-181.) Mr. Powell's request for
discovery does not cure this defect in the pleading. See
Graham v. Peters, No. 13-CV-705J/TC, 2013 U.S. Dist.
LEXIS 156509, 2013 WL 5924727, at *5 (W.D.N_Y. Oct.
31, 2013) (granting motion to dismiss conspiracy claim
despite plaintiff's request for discovery).

H. Count 16—Punitive Damages

Defendants argue that punitive damages are
unavailable against municipalities for § 1983 claims, and
that Mr. Powell is precluded from recovering punitive
damages against any of the individual defendants
because their conduct "did not even rise to the level of
negligence.” (Doc. 9-6 at 38-39; Doc. 14-9 at 33.) Mr.
Powell insists that he has made "several claims against
Defendants that entitle him to [punitive damages]." (Doc.
13-1 at 24.)

HN35F| The court agrees with Defendants that
"punitive damages are not available against a municipal
defendant." Jarzembek v. Cnty. of Erie, No. 7:20-cv-
1796. 2021 U.S. Dist, LEXIS 100832, 2021 WL
2155442, at *2 (W.D.N.Y. May 27, 2021) (citing
Kentucky v. Graham, 473 U.S. 159, 167 n.13, 105 S. Ct
3099, 87 L. Ed. 2d 114 (1985)). Punitive damages can
be available, however "against municipal officials named
in their individual capacities.” Girard v. Howard, No. 79-
CV-6738, 2021 U.S. Dist. LEXIS 84143. 2021 WL
1737758, at *5 (W.D.N.Y. May 3, 2021). At the motion-
to-dismiss stage, Mr. Powell "needs to allege evil motive

or intent, callous indifference to justify punitive
damages." /d. (citing Smith v. Wade, 467 U.S. 30, 56,
103. S. Ct 1625, 75 L. Ed. 2d 632 (1983)), Since Mr.
Powell has alleged some plausible claims, see supra,
the court concludes that his claim for punitive damages
should [*54] be decided at a later stage of this litigation.
See Dixie v. Antonacel, No. 5:16-CV-1221 (FIS/TWD),
2017 U.S. Dist, LEXIS 79449, 2017 WL 2275017, at *17
(N.B.N.Y. May 24, 20177) (denying motion to dismiss
claim for punitive damages at Rule 12(b)(6) stage
“because Defendant Antonacci's actions are not outside
all plausible inferences of reckless indifference to
Plaintiffs’ rights”).

VI. State-Law Claims

A. Count 1—Negligence

The County Defendants and the City Defendants raise
different arguments for dismissal of Mr. Powell's
negligence claim. The court considers those arguments
in turn,

1. Whether the Claim is Barred by "Documentary
Evidence"

Citing N.Y. C.P.L.R. 3211(a)(1), the County Defendants
argue that their documentary evidence "makes it clear
that Plaintiffs arrest was privileged, and that the amount
of force[] used by Deputy Madonia during the course of
the arrest was objectively reasonable under the
circumstances.” (Doc. 9-6 at 32.) Mr. Powell asserts that
his factual pleadings are sufficient and that the County
Defendants' argument on this point improperly seeks to
“flip the burden” that applies under Rule 712(b)(6). (Doc.
13-1 at 8, 23.)

HN36[F| Under New York's Civil Practice Law and
Rules, "[a] party may move for judgment dismissing one
or more causes of action against him on the ground that
... a defense is founded upon documentary evidence."
NY. CPLR 3211(a)(1). But New [*55} York's
procedural rules do not apply in this case removed to
federal court. Fed. R. Civ. P. 81(¢)(1); see also Swain v.
Brookdale Senior Living, No. 08-CV-702S, 2009 U.S.
Dist, LEXIS 88835, 2009 WL 3162143, at *4 (W.D.NLY.
Sept, 27, 2009) ("[O]nce a case has been removed to
federal court, it is settled that federal rather than state
law governs the future course of proceedings ... ."
(quoting Granny Goose Foods, Inc. v. Bhd. of

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Cnty.. 415 U.S. 423, 436, 94 S. Ct. 1113. 39 L. Ed. 2d

in original) (quoting Dineen ex rel. Dineen v. Stramka,
228 F. Supp. 2d 447, 454 (S.D.N.Y. 2002). In the City

435 (1974})). And even if N.Y. C.P.L.R. 3271fa)(1} did
apply, it does not appear that the reference to
"documentary evidence" would authorize consideration
of the declarations and written reports that Defendants
have presented here. See N.Y. C.P.L.R. 3271 (e); see
also Sanford F. Young, Conventional Wisdoms or
Mistakes: The Complaint and the Response, 76 N.Y. St.
B. J. 28, 34 (2004) ("Examples of documentary
evidence typically used are documents that are the
subject of and contemporaneous with the events that
are the subject of the complaint—e.g., contracts, leases,
notes, mortgages, deeds, insurance policies and the
like.").8 As stated above, the court declines to consider
the extra-pleading materials that Defendants have
presented.

2. Particularity and Group Pleading

The County Defendants further assert that the
negligence claim should be dismissed under ALY.
C.P.L.R. 3073 and 3211{a)(7) on the grounds that the
Complaint is "vague and conclusory and fails to identify
which purported acts / omission are attributable to the
various County Defendants as opposed [*56] to the
City Defendants.” (Doc. 9-6 at 32-33.) But as noted
above, New York's procedural rules do not apply in this
federal case. In any case, the court has already
concluded that Mr. Powell's allegations are sufficiently
specific and has rejected Defendants’ "group pleading"
arguments. See supra Sections ITI.A and V.A.1, 2.

3. Compatibility of Negligence and Intentional-
Conduct Claims

The City Defendants raise a separate argument against
Mr. Powell's negligence claim. They rely on this court's
observation that "[uJnder New York law, ‘[wjhen a
plaintiff asserts excessive force and assault claims
which are premised upon a defendant's allegedly
intentional conduct, a negligence claim with respect to
the same conduct will not lief" Bryant v. Ciminelli, 267 F.
Supp. 3d 467, 479 (W.D.N.Y. 2017) (second alteration

® The decision in Goshen v. Mutual Life insurance Company of
New_York, 98 N.Y.2d 314, 326, 774 N.E.2d 1190, 746

ALY.S.2d 858 (2002), plainly fits within the limited categories of
examples listed above because it involved documentation
illustrating the contractual terms and conditions.

Defendants’ view, "it is clear that the conduct [Mr.
Powell] complains of is based upon intentional conduct."
(Doc. 14-9 at 15.) Mr. Powell disagrees, asserting that
his claims "are not entirely premised on intentional
conduct." (Doc. 20-2 at 14.)

The court agrees with the City Defendants that under
Bryant Mr. Powell cannot proceed with a negligence
claim insofar as it is premised on alleged excessive
force and[*57] assault. Mr. Powell cannot
recharacterize Defendants’ conduct in “striking, pushing,
pulling and throwing the plaintiff to the ground" (Doc. 20-
2 at 14) as negligence. At the same time, Mr. Powell
alleges other categories of negligence, including
negligent hiring, negligent retention, and negligent
training and supervision. Since those claims are
asserted in separate counts, the court considers them
below. The court will dismiss the "negligence" portion of
Count 1 only insofar as it is premised on Defendants'
alleged assault and application of excessive force.
Count 1 remains in the case insofar as it is a § 1983
excessive-force claim against the individual defendants
other than Sheriff Quattrone, Undersheriff Braley, and
Chief Jackson. See supra Section V.A.

B. Count 3—-"Respondeat Superior/Vicarious
Liability"

The court has already concluded that Count 3 must be
dismissed as duplicative of the Manelf claim insofar as
Count 3 seeks to hold the municipal defendants liable
for a § 1983 claim. See supra Section V.B.2. The court
considers here the plausibility of the remainder of Count
3.

The County Defendants seek dismissal of Mr. Powell's
vicarious liability claims under N.Y. C.P.L.R. 327 Ifa)(7)
and 321 1(a)(7}. (Doc. 9-6 at 32.) For [*58] the reasons
stated above, the County Defendants are not entitled to
dismissal of any claims on the basis of those state
procedural rules. See supra Section VIA.

The City Defendants make a different point, arguing that
Count 3 should be dismissed because respondeat
superior is not a stand-alone cause of action. (Doc. 14-9
at 21.) HN37[ #1 As this court has observed,
"[rlespondeat superior is not an independent cause of
action, but a theory that must attach to an underlying
claim." Casiano_v. Ashley, 515 F. Supp. 3d_19, 28
(VWAD.N_Y. 2027) (quoting Alexander v. Westbury Union

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Free Sch. Dist, 829 F. Supp. 2d 89, 112 (E.D.NLY.

(VAD.N._Y. 2020) (quoting Gore v. Kuhlman, 217 A.D.2d

2077)). Mr. Powell opposes dismissal of Count 3
because, he maintains, his respondeat superior claim “is
attached to the claims in his Complaint." (Doc. 20-2 at
20.)

The distinction between a cause of action and a legal
theory warrants the following action. The court will
dismiss Count 3 insofar as it is a claim for relief. But
Defendanis have articulated no basis to preclude
consideration of the doctrine of respondeat superior
insofar as it might apply to any underlying tort claims.
Accord Doe v. Sarah Lawrence Coll., 453 F. Supp. 3d
653, 670 (S.D.N.Y. 2020) (dismissing respondeat
superior “claim for relief’ but declining to dismiss “the
applicability of the doctrine of Respondeat Superior’).

C. Counts 4, 5, and 6—Negligent Hiring, Retention,
Training, Supervision

Defendants argue [*59] that Mr. Powell's negligent-
hiring, retention, training, and supervision claims are not
actionable under New York law because all employee-
defendants were acting within the scope of their
employment. (Doc. 9-6 at 34; Doc. 14-9 at 22.) They
note that the Complaint alleges that individual
defendants acted "in the course and scope" of their
duties as law enforcement officers at the relevant times.
(Doc. 1-1 Jf 6, 11, 12.) And they rely on cases
describing New York law as follows:

[W]here the acts of ‘employees’ are concerned, an
employer can be held vicariously liable under
principles of respondeat superior for acts committed
within the scope of the employee's employment, or
may be held directly liable for ‘negligent hiring,
retention, or supervision' for acts committed outside
that scope.

Mustafa_v. Povero, No,_15-CV-6714 CTS, 2017 U.S.
Dist. LEXIS 153236, 2017 WL 4169339, at *7 (W.D.N_Y.
Sept. 20, 2017) (emphasis added) (quoting Ben_v.
United States, 160 F. Supp. 3d 460, 476-77 (N.D.N_Y.

2016).

HN38(#| In New York, "conduct which occurs during
the course of employment will not be considered to have
occurred within the scope of ernployment if, for purely
personal reasons unrelated to the employer's interests,
the employee engages in conduct which is a substantial
departure from the normal methods of performing his
duties.” White v. Montesano, 466 F. Supp. 3d 331, 335

890, 891, 630 N.Y.S.2d 141 (3d Dep't 1995)). "However,
an employee will be considered [*60] within the scope
of his employment so long as he is discharging his
duties, no matter how irregularly, or with what disregard
of instructions." /d. (internal quotation marks omitted).
Since law enforcement officers “often must use some
degree of force to make arrests," municipalities can
foresee that their officers will use force "given the nature
of police work.” Dorsey v. City of Albany Police Dep't,
No. 1:15-CV-859, 2016 U.S. Dist. LEXIS 197597, 2016
WL 11605138, at *3 (N.D.N.Y. Apr. 13, 2016), see also
McKnight v. City of Rochester, No. 11-CV-6328P, 2015
U.S. Dist, LEXIS 40608, 2015 WL 1462379, at *4
(WD.N.Y. Mar. 30, 2015) ("[Clourts routinely dismiss
negligent hiring, training and supervision claims
asserted against municipalities arising out of the
conduct of police officers who were acting within the
scope of their employment.” (citing cases)).

Here, although Mr. Powell alleges that Defendants used
excessive force when they arrested him, the allegations
in the Complaint—even in the light most favorable to Mr.
Powell—do not plausibly suggest a departure from
normal methods "so substantial as to remove the
[officers'] actions from the scope of their employment."
Dorsey, 2016 U.S. Dist, LEXIS 197597, 2016 WL
11605138, at *3. Moreover, Mr. Powell himself alleges
that Defendants were acting within the course and
scope of their duties. See Mustafa, 2017 U.S. Dist.
LEXIS 153236, 2017 WL 4169339, at *7 (dismissing
negligent training/supervision claim where excessive-
force complaint alleged that officers were acting within
the scope of their employment at [*61] all times).

Mr. Powell's reliance on Marcano v. City of
Schenectady, 38 F. Supp, 3d 238 (N.D.N.Y. 2014), is
unavailing. The court in that case stated that an
employer can be held liable for negligent hiring or
retention in some circumstances and that "[al]
municipality may be held liable for negligently training or
supervising its law enforcement officers." /d. at 267-68.
But the Marcano court granted summary judgment to
the defendants in that case on the negligent hiring,
retention, training, and supervision claims due to lack of
evidence of any propensity for using excessive force
and lack of evidence that training and supervision was
deficient. It was therefore unnecessary for the Marcano
court to analyze whether the relevant conduct might
have been outside the scope of employment.

D. Counts 7 and 8—Assault and Battery

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Defendants argue that the standards for assessing
state-law assault and battery claims are "substantially
identical” to the standards for a § 1983 excessive force
claim. (Doe. 9-6 at 36; Doc. 14-9 at 23.) The Second
Circuit has indeed described the relation between these
claims as such. Posr v. Doherty, 944 F.2d 91. 95 (2d
Cir 1991). However, since Defendants are not entitled
to dismissal of the § 1983 excessive force claim, supra
Section V.A, they are also not entitled to dismissal of the
assault and battery claims. [*62]

E, Count 9—Battery Committed in Performance of
Public Duty

Defendants argue that Count 9—entitled "Battery
Committed in the Performance of a Public Duty"—is not
a separately recognized cause of action and is
duplicative of Counts 1 and 8. (Doc. 9-6 at 36; Doc. 14-9
at 23.) Mr. Powell does not address this issue in his
opposition memoranda. The court concludes that Mr.
Powell has abandoned this claim and will accordingly
dismiss Count 9. See Tojek v. Swift, No. 20-CV-
75SSi(F), 2021 U.S. Dist. LEXIS 90039, 2021 WL
2481874, at *6 (W.D.N.Y. May 10, 2021) (where a
plaintiff fails to address a defendant's argument against
a claim in a motion to dismiss, the court may consider
the claim abandoned), report and recommendation
adopted, 2021 U.S. Dist. LEXIS 113905, 2027 WL

distress where, as here, there are more traditional
theories of tort liability available." 2017 U.S. Dist. LEXIS
28090, [WL] at *5. HN39[¥] The applicable federal
rules of procedure authorize alternative claims in a
pleading. Fed. R. Civ. P. 8(d)(2). But this court has held
that IIED and NIED "may not be used as a substitute for
an available traditional tort theory." Taylor v. City of
Rochester, 458 F. Supp. 3d_133, 145 (W.D.N.Y. 2020)
(quoting Ivery v. Baldauf, 284 F. Supp, 3d 426, 442
(W.D.N.Y. 2018)). Here, as the above analysis
demonstrates, Mr. Powell has alleged multiple
traditional tort theories arising out of Incidents 1 and 2.
Since he has not articulated how his IIED and NIED
claims might apply to any conduct that is not already the
subject of other claims, the court concludes that
Defendants are entitled to dismissal of Counts 10 and
11.

G. Count 14—Failure to Treat

Count 14 includes a passing reference to "medical
malpractice.” (Doc. 1-1 | 174.)9 But since the Complaint
lacks any allegation that any defendant is a medical
professional, Mr. Powell has failed to allege a plausible
claim on that theory. See Durant v. United States, No.
t:17-CV-0902 (GTS/CFH), 2020 U.S. Dist. LEXIS
45766, 2020 WL_1274326, at *13 (N.D.N.Y. Mar. 17,
2020) (medical malpractice is "negligence [*64] by a

2477163 (W.D.N.Y. June 17, 2021).

F. Counts 10 and 11—IIED and NIED

Defendants argue that Mr. Powell's TIED and NIED
claims should be dismissed as "duplicative and
meritless.” (Doc. 9-6 at 37; Doc. 14-9 at 24.) In support
of their argument that the claims are duplicative,
Defendants cite Hays v. City of New York, No. 14-CV-
10126 (JMF), 2017 U.S, Dist. LEXIS 28090, 2017 WL
782496 (S.D.N.Y. Feb. 28, 2017). Mr. Powell does not
discuss Hays in his opposition memoranda but he
maintains that he is entitled to assert his TIED and NIED
claims in addition to his other claims and that the claims
are plausible. (See Doc. 13-1 at 24; Doc. 20-2 at 25.)

The plaintiff in Hays brought "a litany of claims,"
including claims for false arrest and [*63] excessive
force, Hays, 2017 U.S. Dist. LEXIS 28090, 2017 WL
782496, at *2. The court dismissed the plaintiffs ED
and NIED claims, reasoning that "under New York law,
a person may not bring claims for intentional infliction of
emotional distress or negligent infliction of emotional

medical professional related to medical treatment or
assessment" (emphasis added)).

Insofar as Count 14 is a § 1983 deliberate-indifference
claim, Defendants are not entitled to dismissal of that
claim for the reasons stated above. See supra Section
V.F. The parties have not briefed whether Count 14
might also include a separate state-law claim under N_Y.
Civil Rights Law § 28. That law, enacted and effective
on June 15, 2020, provides:
When a person is under arrest or otherwise in the
custody of a police officer, peace officer or other
law enforcement representative or entity, such
officer, representative or entity shall have a duty to
provide attention to the medical and mental health
needs of such person, and obtain assistance and
treatment of such needs for such person, which are
reasonable and provided in good faith under the
circumstances. Any person who has not received
such reasonable and good faith attention,
assistance or treatment and who, as a result,
suffers serious physical injury or significant

8 Count 1 includes the same phrase. (Doc. 1-1 952.)

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exacerbation of an injury or condition shall have a
cause of action against such officer, representative,
and/or entity.

Id. There is almost no case law interpreting Section 28,
but one district court has observed that [*65] "Section
28 broadens the scope of an arrestee's rights against an
arresting officer." Durr, 558 F. Supp. 3d at 42. Since the
court has concluded that the Complaint states a
plausible § 71983 deliberate-indifference claim, it
appears to also necessarily state a state-law Section 28
claim.

H. Count 15—-Conspiracy

The court has considered whether, in addition to a claim

for 1983 or § 1985 conspiracy, Count 15
("Conspiracy") might be a claim for civil conspiracy

under New York law. HN46[4F] In order to state a claim
for civil conspiracy, Mr. Powell must allege an
“underlying tort plus four additional elements: (1) an
agreement between two or more parties; (2) an overt act
in furtherance of the agreement; (3) the parties’
intentional participation in the furtherance of a plan or
purpose; and (4) resulting damage or injury." Apace
Comme'ns, Lid. v. Burke, 17 F. Supp. 3d 238, 246
(WDN.Y. 2074). The court will dismiss Count 15
insofar as it is a civil conspiracy claim for the same
reasons that Count 15 is dismissed insofar as it is a
claim for § 1983 or § 1985 conspiracy. The Complaint
lacks any factual details of formation of an agreement to
violate Mr. Powell's rights or any specific acts in
furtherance of such an agreement. Mr. Powell's request
for discovery does not cure this defect in the pleading.
See supra Section V.G.

Vil. Leave to Amend [*66]

Mr. Powell requests “leave to amend his pleadings if the
Court feels [it] is necessary." (Doc. 20-2 at 25.) But this
request fails to comply with the requirements of Local
Rule 15. Mr. Powell does not indicate what amendments
he proposes to make or why any amendment would
cure the deficiencies identified above. The request for
leave to amend is denied.

Conclusion

The Defendants’ Motions to Dismiss (Does. 9 and 14)
are GRANTED IN PART and DENIED IN PART. The

court dismisses the following claims or portions of
claims:
* All claims against the Jamestown Police
Department, the City of Jamestown Clerk, and the
Chautauqua County Sheriffs Office;

* Count 1 insofar as it is a § 7983 excessive-force
claim against Sheriff Quattrone, Undersheriff
Braley, or Chief Jackson, and also insofar as it is a
negligence claim premised on Defendants’ alleged
assault and application of excessive force:

* Count 2 (the Monell claim);

* Count 3, as duplicative of the Monett claim and
because it is not an independent cause of action;
* Counts 4, 5, 6, 9, 10, 11, 13, and 15;

* Count 14 only insofar as it is brought against the
County Defendants seeking to hold them liable for
any purported deliberate indifference to medical
needs while Mr. Powell [*67] was in the custody of
the City Defendants in the JPD squad car and the
JPD's Central Booking Bureau; and

* Count 16 insofar as it seeks punitive damages
against any municipal entity.

The following claims have survived the motions to
dismiss:

o Count 1 insofar as it is a § 7983 excessive-force
claim against defendants other than Sheriff
Quattrone, Undersheriff Braley, or Chief Jackson;

o Counts 7 and 8 (assault and battery);

o Count 12 (§ 1983 failure to intervene);

o Insofar as Count 14 is a § 1983 claim for
deliberate indifference to medical needs, this count
survives except as far as it seeks to hold the
County Defendants liable for any purported
deliberate indifference to medical needs while Mr.
Powell was in the sole custody of the City
Defendants;

o Count 14 also survives insofar as it is a claim
under N.Y. Civil Rights Law § 28; and

o Count 16 (punitive damages), except insofar as it
is brought against any municipal entity.

The parties are directed to complete a Rule 26(f
conference within 60 days and to submit their report as
specified in the rule.

Dated this 3rd day of June, 2022.

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/s/ Geoffrey W. Crawford
Geoffrey W. Crawford, Judge

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